         Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 1 of 69



                          UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK

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                                                                 : Civil Case No. 1:19-cv-01704 (JSR)
IN RE GSE BONDS ANTITRUST                                        :
LITIGATION                                                       :
                                                                   ORAL ARGUMENT REQUESTED
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             DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF
        THEIR JOINT MOTION TO DISMISS THE CONSOLIDATED AMENDED
          CLASS ACTION COMPLAINT FOR FAILURE TO STATE A CLAIM




June 13, 2019
            Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 2 of 69



                                                   TABLE OF CONTENTS

                                                                                                                                          Page

PRELIMINARY STATEMENT .....................................................................................................1
BACKGROUND .............................................................................................................................3
          A.         GSE Bonds ...............................................................................................................3
          B.         The Bloomberg Article ............................................................................................5
          C.         The Original Complaints..........................................................................................6
          D.         Plaintiffs’ Criticisms of Each Other’s Statistics ......................................................7
          E.         The Consolidated Amended Complaint ...................................................................8
ARGUMENT .................................................................................................................................12
I.        Plaintiffs Fail to Plead a Plausible Overarching Conspiracy to Fix the
          Secondary-Market Price of Every GSE Bond Transaction................................................12
          A.         Plaintiffs Fail to Plead “Direct Evidence” of an Overarching Conspiracy ............13
                     1.         The Four Chats Reflect Lawful Discussions Among
                                Co-Underwriters About the Bonds They Underwrote, Not Price
                                Fixing .........................................................................................................13
                     2.         The Four Chats Do Not Suggest an Overarching Conspiracy ...................16
                     3.         Plaintiffs’ Direct Evidence Is Limited to Callable Bonds .........................18
                     4.         Plaintiffs Do Not Allege Any Direct Evidence Relating to the Price
                                of Previously Issued Bonds or to Bid-Ask Spreads ...................................19
          B.         Plaintiffs Fail to Allege Parallel Conduct or “Plus Factors” That Create a
                     Plausible Inference of an Overarching Conspiracy ...............................................19
                     1.         Plaintiffs Do Not Even Attempt to Plead Parallel Conduct .......................19
                     2.         Plaintiffs Do Not Plead Viable “Plus Factors” ..........................................20
          C.         Plaintiffs’ Resort to Group Pleading Underscores the Implausibility of the
                     Alleged Overarching Conspiracy ...........................................................................23
                     1.         Plaintiffs’ Group Pleading Is Fatal to Their Claims Against All
                                Defendants .................................................................................................24
                     2.         Plaintiffs’ Claims Against Some Defendants Are Even More
                                Deficient for Additional Reasons...............................................................25
                                a.            For a group of Defendants, Plaintiffs do not allege direct
                                              evidence, statistical evidence, or specific transactions .............. 25
                                b.            FTN illustrates the defects in Plaintiffs’ group pleading ........... 29
          D.         Plaintiffs’ Statistics Are Fatally Flawed and Unreliable........................................29


                                                                      -i-
            Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 3 of 69



                     1.         Plaintiffs’ Use of Averages Renders Their Analysis Unreliable ...............31
                     2.         Plaintiffs’ Data Fail to Distinguish Among Defendants or Between
                                Defendants and Non-Defendant Dealers ...................................................33
                     3.         Plaintiffs’ Underlying Data and Assumptions Are Opaque and
                                Unreliable...................................................................................................34
                                a.            Plaintiffs do not adequately identify their underlying data........ 35
                                b.            Plaintiffs fail to account for underwriter concessions ............... 35
                                c.            Plaintiffs’ data do not reliably identify customer sales or post-
                                              FTT sales by Defendants ........................................................... 36
                                d.            Plaintiffs’ data do not focus on callable GSE bonds ................. 37
                     4.         Plaintiffs Fail to Control for Various Factors ............................................37
                     5.         Plaintiffs’ Individual Charts Suffer from Additional Facial Flaws ...........40
II.       Plaintiffs Fail to State a Rule-of-Reason Claim Based on Alleged Agreements
          Among Co-Underwriters During the Syndication Phase of Offerings ..............................41
          A.         The Rule of Reason Applies to Agreements Among Co-Underwriters
                     Operating as a Syndicate About the Price of the Bonds They Underwrote ...........42
          B.         Plaintiffs Do Not Even to Try to Plead a Rule-of-Reason Claim ..........................46
III.      Plaintiffs Lack Antitrust Injury Because They Fail to Allege Any Injury-In-Fact ............47
          A.         Plaintiffs Do Not Adequately Allege That Defendants Fixed the Price of
                     Bonds They Purchased or Sold ..............................................................................48
          B.         Plaintiffs’ Statistics Are Insufficient to Show That Any Plaintiff Suffered
                     Injury-in-Fact .........................................................................................................50
IV.       Plaintiffs’ Claim Based on Pre-February 22, 2015 Conduct Is Time-Barred ....................52
CONCLUSION ..............................................................................................................................55




                                                                    -ii-
            Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 4 of 69



                                                 TABLE OF AUTHORITIES

                                                                                                                                      Page(s)

Cases

7 W. 57th St. Realty Co. v. Citigroup, Inc.,
   2015 WL 1514539, at *12 (S.D.N.Y. Mar. 31, 2015), aff’d, 2019 WL
   1914278 (2d Cir. Apr. 30, 2019) .............................................................................................34

Alaska Elec. Pension Fund v. Bank of Am. Corp.,
   175 F. Supp. 3d 44, 54 (S.D.N.Y. 2016)..................................................................................19

In re Aluminum Warehousing Antitrust Litig.,
    2014 WL 4277510, at *33 (S.D.N.Y. Aug. 29, 2014), aff’d, 833 F.3d 151 (2d
    Cir. 2016) .................................................................................................................................21

Apex Oil Co. v. DiMauro,
   822 F.2d 246, 253 (2d Cir. 1987).............................................................................................13

Arista Records LLC v. Lime Grp. LLC,
    532 F. Supp. 2d 556, 569 (S.D.N.Y. 2007)..............................................................................50

Bell Atlantic Corp. v. Twombly,
    550 U.S. 544, 553, 557, 566-67 (2007) ........................................................................... passim

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   985 F. Supp. 2d 612, 621 (S.D.N.Y. 2013)..............................................................................47

Broad. Music, Inc. v. CBS,
   441 U.S. 1, 9, 24 (1979) .....................................................................................................42, 43

Bruce v. Suntech Power Holdings Co. Ltd.,
   64 F. Supp. 3d 1365, 1369 (N.D. Cal. 2014) ...........................................................................15

Burtch v. Milberg Factors, Inc.,
   662 F.3d 212, 225 (3d Cir. 2011).......................................................................................12, 17

Capital Imaging Assocs., P.C. v. Mohawk Valley Med. Assocs., Inc.,
   996 F.2d 537, 545 (2d Cir. 1993).............................................................................................21

Chapman v. N.Y. State Div. for Youth,
   546 F.3d 230, 238 (2d Cir. 2008).............................................................................................47

Chubirko v. Better Bus. Bureau of S. Piedmont, Inc.,
   763 F. Supp. 2d 759, 765 (W.D.N.C. 2011) ............................................................................17

In re Commodity Exch., Inc., Gold Futures & Options Trading Litig.,
    213 F. Supp. 3d 631, 648, 661-62, 678 (S.D.N.Y. 2016) ................................................ passim

                                                                      -iii-
            Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 5 of 69



                                                 TABLE OF AUTHORITIES
                                                       (continued)
                                                                                                                                      Page(s)

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    2013 WL 1100770, at *4-5 (S.D.N.Y. Mar. 18, 2013), aff’d, 560 F. App’x 84
    (2d Cir. 2014) ...............................................................................................................30, 33, 35

Concord Assocs., L.P. v. Entm’t Props. Tr.,
   817 F.3d 46, 53-55 (2d Cir. 2016) ...........................................................................................47

Continental T.V., Inc. v. GTE Sylvania Inc.,
   433 U.S. 36, 58-59 (1977) .................................................................................................42, 45

Credit Suisse Secs. (USA) LLC v. Billing,
   551 U.S. 264, 269-70, 276, 279-86 (2007) ........................................................................43, 44

In re Currency Conversion Fee Antitrust Litig.,
    773 F. Supp. 2d 351, 367-73 (S.D.N.Y. 2011) ........................................................................19

In re DDAVP Direct Purchaser Antitrust Litig.,
    585 F.3d 677, 695 (2d Cir. 2009).............................................................................................54

ECA & Local 134 IBEW Joint Pension Trust of Chicago v. JPMorgan Chase Co.,
  553 F.3d 187, 206 (2d Cir. 2009).............................................................................................54

In re Elevator Antitrust Litig.,
    502 F.3d 47, 52 (2d Cir. 2007).....................................................................................18, 23, 24

In re Elevator Antitrust Litig.,
    2006 WL 1470994, at *11 (S.D.N.Y. May 30, 2006), aff’d, 502 F.3d 47 (2d
    Cir. 2007) .................................................................................................................................21

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   228 F.3d 154, 166 (2d Cir. 2000).............................................................................................15

Gatt Commc’ns, Inc. v. PMC Assocs., LLC,
   711 F.3d 68, 75 (2d Cir. 2013).................................................................................................47

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   889 F.3d 104, 110, 116 (2d Cir. 2018) ........................................................................48, 50, 51

Hinds Cty. v. Wachovia Bank N.A.,
   620 F. Supp. 2d 499, 520 (S.D.N.Y. 2009)..............................................................................53

Hinds Cty., Miss. v. Wachovia Bank N.A.,
   708 F. Supp. 2d 348, 362 (S.D.N.Y. 2010)..............................................................................24



                                                                      -iv-
            Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 6 of 69



                                                  TABLE OF AUTHORITIES
                                                        (continued)
                                                                                                                                        Page(s)

In re Initial Pub. Offering Sec. Litig.,
    383 F. Supp. 2d 566, 585 (S.D.N.Y. 2005)..............................................................................15

In re Ins. Brokerage Antitrust Litig.,
    618 F.3d 300, 315-16 (3d Cir. 2010) .......................................................................................46

Integrated Sys. & Power, Inc. v. Honeywell Int’l, Inc.,
    713 F. Supp. 2d 286, 298 (S.D.N.Y. 2010)..............................................................................46

In re Iowa Ready-Mix Concrete Antitrust Litig.,
    768 F. Supp. 2d 961, 972 (N.D. Iowa 2011) ............................................................................18

In re Interest Rate Swaps Antitrust Litig.,
    261 F. Supp. 3d 430, 463, 467, 470-71, 478, 483, 489 (S.D.N.Y. 2017) ........................ passim

Johnson v. Nyack Hosp.,
   86 F.3d 8, 11 (2d Cir. 1996).....................................................................................................52

LaFlamme v. Société Air France,
   702 F. Supp. 2d 136, 154 (E.D.N.Y. 2010) ...............................................................................3

In re Late Fee & Over-Limit Fee Litig.,
    528 F. Supp. 2d 953, 964 (N.D. Cal. 2007), aff’d, 741 F.3d 1022 (9th Cir.
    2014) ........................................................................................................................................20

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   551 U.S. 877, 886 (2007) .........................................................................................................42

LLM Bar Exam, LLC v. Barbri, Inc.,
  271 F. Supp. 3d 547, 578-79 (S.D.N.Y. 2017) ..................................................................37, 42

In re London Silver Fixing, Ltd., Antitrust Litig.,
    213 F. Supp. 3d 530, 560 (S.D.N.Y. 2016) .............................................................................22

Love v. Johanns,
   439 F.3d 723, 731 (D.C. Cir. 2006) .........................................................................................37

MacDermid Printing Sols. LLC v. Cortron Corp.,
  833 F.3d 172, 182 (2d Cir. 2016).............................................................................................46

Madison 92nd St. Assocs., LLC v. Courtyard Mgmt. Corp.,
  624 F. App’x 23, 28 (2d Cir. 2015) .........................................................................................53




                                                                       -v-
           Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 7 of 69



                                             TABLE OF AUTHORITIES
                                                   (continued)
                                                                                                                          Page(s)

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  709 F.3d 129, 135-38 (2d Cir. 2013) ............................................................................... passim

In re Merrill Lynch Ltd. P’ships Litig.,
    154 F.3d 56, 60 (2d Cir. 1998).................................................................................................55

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    798 F.3d 1186, 1194 (9th Cir. 2015) .......................................................................................20

In re NCAA Athletic Grant-in-Aid Cap Antitrust Litig.,
    2019 WL 1747780, at *5 (N.D. Cal. Mar. 08, 2019) ...............................................................42

NCAA v. Bd. of Regents of the Univ. of Okla.,
  468 U.S. 85, 103-04 (1984) .....................................................................................................43

In re Nine West Shoes Antitrust Litig.,
    80 F. Supp. 2d 181, 192 (S.D.N.Y. 2000)................................................................................52

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   138 S. Ct. 2274, 2284-87 (2018)..............................................................................................45

In re Optical Disk Drive Antitrust Litig.,
    2011 WL 3894376, at *9 (N.D. Cal. 2011) .............................................................................18

Palm Beach Strategic Income, LP v. Salzman,
   457 F. App’x 40, 42-43 (2d Cir. 2012) ....................................................................................30

In re Parcel Tanker Shipping Servs. Antitrust Litig.,
    541 F. Supp. 2d 487, 491-92 (D. Conn. 2008).........................................................................23

In re Platinum & Palladium Antitrust Litig.,
    2017 WL 1169626, at *51 (S.D.N.Y. Mar. 28, 2017) .............................................................26

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   776 F.2d 185, 190 (7th Cir. 1985) ...........................................................................................43

Precision Assocs., Inc. v. Panalpina World Transp. (Holding) Ltd.,
   2011 WL 7053807, at *8-11 (E.D.N.Y. Jan. 4, 2011) .............................................................50

In re Propranolol Antitrust Litig.,
    249 F. Supp. 3d 712, 723-24 (S.D.N.Y. 2017) ........................................................................23

SCFC ILC, Inc. v. Visa USA, Inc.,
   36 F.3d 958, 963 (10th Cir. 1994) ...........................................................................................45


                                                                -vi-
            Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 8 of 69



                                               TABLE OF AUTHORITIES
                                                     (continued)
                                                                                                                               Page(s)

SEC v. Jones,
   476 F. Supp. 2d 374, 382 (S.D.N.Y. 2007)..............................................................................54

Sejin Precision Indus. Co. v. Citibank, N.A.,
    235 F. Supp. 3d 542, 552 (S.D.N.Y. 2016)..............................................................................53

Sheet Metal Workers Local 441 Health & Welfare Plan v. GlaxoSmithKline, PLC,
   2010 WL 3855552, at *30 (E.D. Pa. Sept. 30, 2010) ..............................................................52

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   918 F.3d 57, 63 (2d Cir. 2019).................................................................................................54

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    2018 WL 4118979, at *2, 6-8 (S.D.N.Y. Aug. 24, 2018)......................................47, 48, 49, 52

Starr v. Sony BMG Music Entm’t,
    592 F.3d 314, 319 (2d Cir. 2010).............................................................................................27

Texaco v. Dagher,
   547 U.S. 1, 8 (2006) .................................................................................................................43

Todd v. Exxon Corp.,
   275 F.3d 191, 200, 207-08 (2d Cir. 2001) .........................................................................46, 47

In re TVIX Sec. Litig.,
    25 F. Supp. 3d 444, 449 (S.D.N.Y. 2014), aff’d sub nom. Elite Aviation LLC
    v. Credit Suisse AG, 588 F. App’x 37 (2d Cir. 2014) ..............................................................15

United States v. Morgan,
   118 F. Supp. 621, 687-90 (S.D.N.Y. 1953) .............................................................................43

In re Vitamin C Antitrust Litig.,
    995 F. Supp. 2d 125, 131 (E.D.N.Y. 2014) .............................................................................53

Woori Bank v. Merrill Lynch,
  923 F. Supp. 2d 491, 497 (S.D.N.Y. 2013)..............................................................................55

In re Zinc Antitrust Litig.,
    155 F. Supp. 3d 337, 369-70, 384 (S.D.N.Y. 2016) ..........................................................18, 24




                                                                  -vii-
            Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 9 of 69



                                                 TABLE OF AUTHORITIES
                                                       (continued)
                                                                                                                                    Page(s)

Statute and Rules

15 U.S.C. § 15b ..............................................................................................................................52

Fed. R. Civ. P. 9(b) ..................................................................................................................53, 54

Fed. R. Civ. P. 12(b)(6)....................................................................................................................1

Fed. R. Civ. P. 15 ...........................................................................................................................53

Treatise

VII PHILLIP E. AREEDA & HERBERT HOVENKAMP, ANTITRUST LAW (2d ed. 2003) ......................22




                                                                    -viii-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 10 of 69



       Defendants respectfully submit this memorandum of law in support of their joint motion

under Federal Rule of Civil Procedure 12(b)(6) to dismiss the Consolidated Amended Class Action

Complaint (ECF No. 171) (“CAC”) for failure to state a claim.

                                PRELIMINARY STATEMENT

       Plaintiffs attempt to plead an impossibly broad conspiracy among 16 different dealers to

fix the price of tens of thousands of different bonds issued by four different government-sponsored

entities (“GSEs”) over a seven-year period. Although Plaintiffs promise a trove of “smoking gun

direct evidence” based on information supplied by a “cooperating” dealer (CAC ¶ 3), the CAC

points to only four chats among different combinations of only four Defendants that relate to only

four bonds of one particular type over a two-year period. (Id. ¶¶ 147-54.) All but one of the chats

consist of communications among dealers acting as an underwriting syndicate before the bonds

were declared “free to trade” (“FTT”), a time when Plaintiffs themselves acknowledge that dealers

are free to communicate with each other about prices. (Id. ¶¶ 11, 128, 148-49, 152.) In the sole

post-FTT chat, one dealer expressly states that “if we are free to trade, we cannot talk about prices”

(id. ¶ 150), thus belying any notion of price-fixing. Plaintiffs try to buttress their minimal factual

allegations with an “analysis” of “GSE Bond prices” that they say is “consistent with a price fixing

conspiracy.” (Id. ¶¶ 6, 179-221.) But Plaintiffs’ statistics have no discernable connection to their

“direct evidence” and are so flawed that another plaintiff in this matter advised the Court that they

“reflect a fundamental misunderstanding of how banks are compensated for underwriting GSE

bonds.” (ECF No. 101 at 23.)

       That the CAC comes up short is not surprising. Seizing on a June 2018 Bloomberg report

that the Department of Justice (“DOJ”) had opened an inquiry into secondary-market trading of

bonds issued by two GSEs, various plaintiffs filed competing complaints containing highly

generalized allegations, conflicting class periods, and contradictory statistics. Notably, the CAC
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 11 of 69



conflicts with the predecessor complaints filed by the same Plaintiffs, which previously alleged,

based on largely the same statistical analysis, that the conspiracy began in 2009 and ended in April

2014. (ECF No. 1.) The CAC now asserts that the conspiracy lasted until January 1, 2016 (CAC

¶ 263), contending that the same comparative analysis of prices during and after the alleged

conspiracy somehow also supports the newly-expanded conspiracy period. (See id. ¶¶ 189-99,

216-21.) Such results-driven analysis does not render Plaintiffs’ conspiracy allegations plausible.

        Even accepting as true its barebones factual allegations, the CAC should be dismissed for

failure to state a claim. First, Plaintiffs fail to plead a plausible conspiracy to fix the price of every

GSE bond traded in the secondary market between 2009 and 2016. The CAC offers no details

about how such a massive conspiracy even could work, given that small subsets of approximately

65 authorized dealers1 (most of which are not defendants) acting in separate syndicates underwrote

and traded tens of thousands of GSE bonds during that period. There also is a stark mismatch

between the breadth of Plaintiffs’ claim and the factual allegations they marshal in support, even

with the aid of a “cooperating” dealer. Plaintiffs’ so-called “direct evidence” is limited to four

chats among different combinations of five co-underwriters that relate to only four bonds, a

miniscule subset of both the total number of GSE bonds traded during the class period and the

“13,117 GSE Bonds” Plaintiffs purport to have analyzed. (Id. ¶ 6.) Plaintiffs also fail to plead

any parallel conduct by Defendants or any viable “plus factors,” and Plaintiffs’ resort to

impermissible group pleading underscores the implausibility of their allegations of an overarching

conspiracy involving 15 Defendants. Lastly, Plaintiffs’ statistics about GSE bond prices are so

fatally flawed and unreliable that they lend no support for Plaintiffs’ conspiracy allegations.



1
   See, e.g., Freddie Mac, Dealer Groups, http://www.freddiemac.com/debt/products/dealer-
groups.html; FHLBanks, Authorized Dealers, http://www.fhlb-of.com/ofweb_userWeb/
pageBuilder/authorized-dealers-134.
                                                   -2-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 12 of 69



        Second, Plaintiffs’ allegations challenging discussions among co-underwriters while acting

as an underwriting syndicate about the price of the bonds they underwrote are not subject to the

per se rule, which applies only to practices with manifestly anticompetitive effects that lack any

redeeming virtue. To the extent the Court elects to decide this question now, such communications

among co-underwriters should be examined under the rule of reason, and Plaintiffs do not even

attempt to plead a rule-of-reason claim.

        Third, given the CAC’s failure to plead a plausible overarching conspiracy, Plaintiffs must

plead both a conspiracy and antitrust injury on a bond-by-bond basis. The CAC does not allege

that Defendants unlawfully fixed the price of any bond Plaintiffs purchased. As a result, Plaintiffs

do not allege injury-in-fact sufficient to plead antitrust injury.

        Fourth, Plaintiffs’ antitrust claim based on conduct occurring before February 22, 2015 is

barred by the Clayton Act’s four-year statute of limitations. Plaintiffs cannot invoke equitable

tolling because the CAC fails to plead fraudulent concealment with the required particularity. The

statute of limitations wipes out most of Plaintiffs’ proposed class period, including any claim based

on the four chats alleged in the CAC.

                                           BACKGROUND

        A.      GSE Bonds

        GSEs are “privately run enterprises sponsored by the federal government and established

for a public purpose.” (Id. ¶ 108.) Plaintiffs predicate their antitrust claim on the sale of unsecured

debt of four different GSEs: Federal National Mortgage Association (“Fannie Mae”), Federal

Home Loan Mortgage Corporation (“Freddie Mac”), Federal Home Loan Banks (“FHLB”), and

Federal Farm Credit Banks (“FFCB”). (Id. ¶¶ 1, 108-10.)

        These GSEs issue a wide variety of unsecured bonds in many different forms. (Id. ¶¶ 111,

119-22.) Of particular relevance to this case, “GSE Bonds can be non-callable, or ‘bullet,’ bonds

                                                  -3-
         Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 13 of 69



or callable GSE Bonds that can be redeemed by the issuer prior to maturity.” (Id. ¶ 122.) Non-

callable GSE bonds include “GSE Benchmark and Reference Notes,” which “are among the most

traded GSE Bonds, accounting for over 2.5 million transactions from March 1, 2010 through

December 31, 2017.” (Id. ¶ 185.) While benchmark and reference notes have standardized terms

and are issued on a fixed, published schedule,2 callable bonds are issued almost daily, with

customized contractual terms that vary considerably across issuances.3 Callable bonds often are

issued through a “reverse inquiry” process, “where an underwriter requests a particular callable

structure.”4 Unlike benchmarks and notes, callable bonds are issued on more of an ad hoc,

informal basis.5

        GSEs issue bonds to a “syndicate” of approved dealers that underwrite the offering by

purchasing and reselling the newly-issued bonds. (CAC ¶¶ 123, 127.) The underwriting syndicate

for any given offering consists of only a very small subset of the broader group of 65 approved

dealers, and syndicate members vary from offering to offering. (Id. ¶¶ 127-29.) The dealers in

the underwriting syndicate work together to sell the newly-issued GSE bonds to other dealers,

regional banks, and customers. (Id. ¶¶ 128, 160.) As Plaintiffs acknowledge, “[d]uring the

syndication phase, the Approved GSE Bond Dealers are permitted to communicate with each other

to effectuate the initial placement in the primary market.” (Id. ¶ 128; see also id. ¶ 160.) The

underwriters attempt to sell the newly issued bonds in the primary market to customers at the


2
    Frank J. Fabozzi and George P. Kegler, FEDERAL AGENCY SECURITIES 245 (2008).
3
   The Bond Market Ass’n, An Investor’s Guide to GSE Debt Securities, http://www.
freddiemac.com/debt/pdf/guide_gse_debtsecurities.pdf.
4
  Freddie Mac, Product Overview: Callable Debt (March 2008), http://www.freddiemac.
com/debt/pdf/callable-debt_brochure.pdf; see also Fabozzi, supra note 2 at 246 (“Callable bonds
are issued daily, primarily as customized issues from reverse inquiry of institutional investors.”).
5
  See Letter from Regional Bond Dealers Ass’n to U.S. Securities & Exchange Comm’n (May 7,
2009), https://www.sec.gov/comments/sr-finra-2009-010/finra2009010-2.pdf.
                                                -4-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 14 of 69



offering price to which they have agreed with the issuer—this is called the “par” price.

Underwriters also may sell the bonds in the primary market to other dealers at a specified dealer

concession, essentially a “wholesale” price stated on the face of the term sheet.

       According to Plaintiffs, the “syndication phase ends when the Approved GSE Bond

Dealers declare the new issuance ‘free-to-trade’ often abbreviated as ‘FTT.’” (Id. ¶ 129.) “Once

this announcement occurs, secondary market trading begins.” (Id.) Although non-callable bonds

typically go FTT at a pre-set time within minutes of when the offering is priced with the issuer,

there is no pre-set time for callable bonds to go FTT. As a result, co-underwriters of callable bonds

need to communicate with each other to decide when to declare the bonds FTT.

       In the secondary market, GSE bonds are traded “over-the-counter” (“OTC”) rather than on

an exchange. (Id. ¶ 5.) Plaintiffs allege that traders at the approved dealers “are responsible for

determining GSE Bond price quotes offered to investors” in the secondary market. (Id. ¶ 138.)

“The bid price indicates the price at which a dealer is willing to buy a GSE Bond from a customer,

and the ask price represents the price at which the dealer is willing to sell the same GSE Bond to

that customer.” (Id. ¶ 140.) “This difference is called the ‘bid-ask spread.’” (Id. ¶ 139.) In

addition to the most recently issued GSE bonds, known as “on-the-run” bonds, the secondary

market includes trading of previously issued “off-the-run” GSE bonds. (Id. ¶ 118.) GSE bond

prices fluctuate over time based on numerous different factors.

       B.      The Bloomberg Article

       On June 1, 2018, Bloomberg reported that the DOJ had opened an investigation into

whether unnamed traders at unspecified banks manipulated secondary-market prices of bonds




                                                -5-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 15 of 69



issued by Fannie Mae and Freddie Mac. (Id. ¶¶ 155-57.)6 The article stated that the “inquiry is in

its early stages and focuses on whether traders at banks coordinated with one another” in the

secondary market. It also reported that “[i]t’s unclear whether the investigation will lead to any

prosecutions.” (Id.) No charges have been brought against any trader or bank.

       C.      The Original Complaints

       Following the Bloomberg article, numerous different complaints were filed in this Court

asserting antitrust claims against different groups of authorized dealers. Several of Plaintiffs filed

the first complaint on February 22, 2019. (ECF No. 1 (“Compl.”).) They asserted claims on behalf

of a putative class of investors that traded GSE bonds issued by Fannie Mae and Freddie Mac with

a group of defendants in the secondary market between January 1, 2009 and April 27, 2014.

(Compl. ¶¶ 213, 217, 231-36.) Relying entirely on so-called economic analysis, Plaintiffs alleged

that “price data and other market data” revealed anomalies when comparing prices before and after

April 2014. (Id. ¶ 6; see also ¶ 138.) Plaintiffs asserted that those anomalies “statistically

diminish[ed] after April 2014 . . . in the wake of the LIBOR scandal.” (Id. ¶ 10.) According to

Plaintiffs, “after news broke in April 2014 confirming that criminal prosecutions would not be

limited to LIBOR, [GSE bond] prices suddenly and dramatically changed.” (Id. ¶ 138.)

       Shortly after Plaintiffs filed their complaint, a different set of lawyers filed a related

complaint, Alaska Electrical Pension Fund v. Bank of America, No. 19-cv-01796 (ECF No. 53),

asserting claims against a different group of defendants and based on bonds also issued by FFCB

and FHLB. (Alaska Compl. ¶ 179.) Whereas Plaintiffs’ original complaint claimed that economic

data suggest a conspiracy starting in 2009 and ending in April 2014, the Alaska complaint claimed



6
  See David McLaughlin & Tom Shoenberg, U.S. Opens Criminal Probe Into Trading in Fannie,
Freddie Bonds, Bloomberg (June 1, 2018), available at https://www.bloomberg.com/news/
articles/2018-06-01/trading-in-fannie-freddie-bonds-is-said-to-be-probed-by-u-s.
                                                 -6-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 16 of 69



that economic data suggest that the conspiracy did not start until 2012 and that it continued until

June 2018. (Id. ¶¶ 90-93.)

       D.      Plaintiffs’ Criticisms of Each Other’s Statistics

       In support of its lead-counsel application, the Alaska plaintiff correctly pointed out various

deficiencies in Plaintiffs’ statistics, including that they fail to distinguish between primary- and

secondary-market sales. (ECF No. 101 at 23.) The Alaska plaintiff explained that Plaintiffs’

statistics appear to be a “simple comparison of (a) the price paid by the underwriters to acquire the

bonds from the issuer to (b) the price at which the underwriters then sold the newly-issued bonds

to investors”—a price comparison that “appears to reflect a fundamental misunderstanding of how

banks are compensated for underwriting GSE bonds.” (Id.) As the Alaska plaintiff stated, “the

difference between what the underwriters pay to the GSEs for newly-issued bonds and what they

receive from investors in the public offering is simply a function of the underwriting fees set by

the issuer,” which “are fully disclosed.” (Id.)

       In defense of their complaint, Plaintiffs stated that their “expert analysis indicat[es] that the

impact from Defendants’ misconduct in the GSE bond market started to abate after . . . April 2014.”

(ECF No. 131 at 3.) They argued that “GSE bond traders were unlikely to continue openly

communicating with each other in group chat rooms about fixing prices after [April 2014].” (Id.)

As Plaintiffs put it, the Alaska plaintiff “ignore[s] these facts,” and its proposal to extend the class

period past April 2014 “does not accord with . . . reality.” (Id. at 4.) Plaintiffs also took issue with

the Alaska plaintiff’s assertion of claims based on bonds issued by FFCB and FHLB, stating that

“FFCB and FHLB bonds traded in higher volumes and with narrower bid-ask spreads, consistent

with a normally functioning market.” (Id. at 2-3.)




                                                  -7-
       Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 17 of 69



       E.      The Consolidated Amended Complaint

       The Parties. After the Court’s lead-counsel appointment (ECF No. 159), Plaintiffs filed

the CAC. Although the CAC includes four named Plaintiffs, only one, the Treasurer of the

Commonwealth of Pennsylvania (“Commonwealth Funds”), alleges that its transactions include

GSE bonds that the “cooperating” dealer “identified as being impacted by the conspiracy.” (CAC

¶ 21.) Despite the CAC’s allegation that Commonwealth Funds “participated in thousands of GSE

Bond transactions” with Defendants during the class period (id. ¶ 21), it identifies only six

transactions, involving only four callable bonds and two Defendants, that the alleged

“cooperating” dealer “identified as among those” affected by the supposed conspiracy (id. ¶ 238).7

       The three other named Plaintiffs are (i) City of Birmingham Retirement and Relief System

(“Birmingham”), (ii) Electrical Workers Pension Fund Local 103, I.B.E.W. (“IBEW Pension

Plan”), and (iii) Local 103, I.B.E.W. Health Benefit Plan (“IBEW 103”). (Id. ¶¶ 22-24.) These

Plaintiffs allege that they traded in an unidentified number of GSE bonds with certain, but not all,

Defendants at unidentified times during the class period. Collectively, they allege only limited

facts about seven transactions, none of which was supposedly affected by the conspiracy

purportedly described by the alleged “cooperator.” (Id. ¶¶ 246-61.)

       The CAC names 15 Defendants, out of the 65 approved dealers for GSE bonds. (Id. ¶¶ 27-

106.) Plaintiffs allege that Defendants “were the largest underwriters in the primary market” and

“the largest dealers of GSE Bonds to investors in the secondary market.” (Id. ¶ 2.) The CAC

concedes, however, that non-defendant dealers underwrote close to 23% of the GSE bond offerings



7
  The CAC alleges limited facts about two of Commonwealth Funds’ other transactions, but does
not claim that those transactions were affected by the conspiracy described by the alleged
“cooperator.” (CAC ¶¶ 242, 245.)



                                                -8-
       Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 18 of 69



during the class period and that four Defendants have less than 2% “market share.”8 (Id. ¶ 134.)

       Plaintiffs’ Claim and Proposed Class. The CAC seeks to assert a single antitrust claim

on behalf of all investors that transacted with a Defendant in the secondary market between January

1, 2009 and January 1, 2016 in any GSE bond issued by the four GSEs. (Id. ¶ 263.) The CAC

broadly asserts that all Defendants conspired to fix the prices of all GSE bonds traded in the

secondary market during the class period. (Id. ¶ 3.) The CAC contradicts Plaintiffs’ allegation in

their original complaint that the prices of GSE bonds “suddenly and dramatically changed” in April

2014. (Compl. ¶ 138.) Plaintiffs now contend, without any explanation, that “[t]he economic

fingerprints that Defendants’ conspiracy left on the GSE Bond market” continued until January

2016, when the “cooperating” dealer—which appears to be Deutsche Bank Securities, Inc.

(“DBSI”)—“discovered the anticompetitive conduct alleged” in the CAC. (CAC ¶ 11.)

       Plaintiffs’ “Direct Evidence.” The principal new addition to the CAC is Plaintiffs’ so-

called “smoking gun direct evidence” provided by their “cooperating” dealer. (Id. ¶ 3.) According

to that “cooperator,” Defendants “conspired to fix the price at which GSE Bonds [went] FTT in

the secondary market” (id. ¶ 145), a far more limited conspiracy than what the CAC alleges.

       As its only “direct evidence,” the CAC quotes four chats involving different combinations

of four Defendants and DBSI that relate to four specific bonds issued by two GSEs: FFCB and

FHLB. (Id. ¶¶ 144-54.)9 According to the publicly available pricing supplements, all four bonds




8
   According to the CAC, the following Defendants have less than 2% market share: HSBC
(1.82%), TD Securities (USA) LLC (“TD”) (1.28%), Cantor Fitzgerald (“Cantor”) (0.97%) and
SG Americas Securities, LLC (“SG”) (0.13%).
9
  Although Cantor allegedly co-underwrote one of the four bonds, it did not participate in the chat
quoted by the CAC. (See CAC ¶ 152.)



                                                -9-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 19 of 69



were callable bonds, not non-callable benchmarks or notes.10 Although the CAC asserts that

“[t]his misconduct occurred regularly from at least as early as August 2009 through at least January

2016” (id. ¶ 146), the four chats take place on distinct dates, months apart, during the much shorter

period of September 2011 through September 2013. Notwithstanding Plaintiffs’ assertion that the

four chats are direct evidence that “Defendants conspired to fix the price at which GSE bonds were

FTT in the secondary market” (id. ¶ 145), the chats do not suggest a price-fixing agreement. They

instead appear to reflect discussions among co-underwriters—in all but one case during the

syndication phase—about whether to declare the bonds FTT and to reduce the price of the bonds

from “par” (i.e., 100) to a discounted initial price (e.g., 99.925 or 99.985). (See id. ¶¶ 148-49,

152.) Plaintiffs themselves acknowledge that dealers are permitted to communicate with each

other during the syndicate phase about the price of the bonds they underwrote. (Id. ¶¶ 11, 128,

160.)   Although one of the four chats allegedly reflects post-FTT communications among

syndicate members, it rebuts Plaintiffs’ assertion that traders fixed secondary-market prices after

bonds went FTT: in that chat, the Goldman Sachs trader expressly states, “if we are free to trade,

we cannot talk about prices,” to which the DBSI trader replied, “ok. Fair enough.” (Id. ¶ 150.)

        Despite the narrow fact pattern reflected in the chats, the CAC broadly asserts that all

Defendants conspired to fix the price of hundreds of thousands of secondary-market transactions

in tens of thousands of different GSE bonds, regardless of whether the transactions involved

callable bonds and occurred shortly after the bonds were declared FTT. Plaintiffs do not provide



10
   See Ex. 1 (Term Sheet, FFCB (Aug. 31, 2011)); Ex. 2 (Pricing Supp., FHLB (Feb. 13, 2012));
Ex. 3 (Pricing Supp., FHLB (July 16, 2012)); Ex. 4 (Offering Notice, FHLB (Sept. 18, 2013)). All
exhibits referenced herein are exhibits to the Declaration of Richard C. Pepperman II, dated June
13, 2019. The same is true of the bonds identified at Paragraph 238, which Commonwealth Funds
allegedly purchased. See Ex. 2 (Pricing Supp., FHLB (Feb. 13, 2012)); Ex. 5 (Term Sheet, FFCB
(August 7, 2012)); Ex. 6 (Pricing Supp., Freddie Mac (Nov. 5, 2013)); Ex. 7 (Pricing Supp.,
Freddie Mac (May 20, 2015)).
                                                -10-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 20 of 69



any direct evidence of the all-encompassing conspiracy asserted by the CAC or any explanation

of how such a massive conspiracy could be effected and maintained. None of the four chats

suggests market-wide conduct; rather, each is limited to a specific bond and a specific subset of

dealers. Plaintiffs cite no chats or direct evidence of any type pertaining to 11 of the 15 Defendants.

       Plaintiffs’ “Plus Factors.”       Although Plaintiffs do not even attempt to allege that

Defendants engaged in parallel conduct, they contend that so-called “plus factors” support “an

inference of collusion.” (Id. ¶ 158.) Plaintiffs allege an opportunity to conspire “because

Defendants could communicate freely with one another during the underwriting and syndication”

phases of offerings (id. ¶ 162) and because traders sometimes changed jobs (id. ¶ 167) and

“gathered for social and industry events” (id. ¶ 168). They also allege a motive to conspire because

“[t]he GSEs monitored Defendants’ performance in the secondary market and awarded

underwriting privileges based in part on success in the secondary market.” (Id. ¶ 172.) And

Plaintiffs allege that “[t]here is a high level of industry concentration in,” and “high barriers to

entry into,” GSE bond underwriting (id. ¶¶ 176-78), notwithstanding that 65 authorized dealers

underwrite GSE bonds and the CAC alleges that approximately 77% of GSE underwritings was

split among 16 different dealers, including four with less than 2% market share (id. ¶ 134).

       Plaintiffs’ Purported Statistical Analysis. Plaintiffs claim that their statistical “analysis”

uncovered “anomalies in GSE Bond pricing that are inconsistent with normal, competitive market

conditions.” (Id. ¶ 180.) Without adequately identifying the data underlying their statistics,

Plaintiffs purport to analyze (i) the average difference between the prices dealers paid to GSEs for

bonds and the prices at which they sold bonds to investors on offer days, (ii) average prices for

bonds about to go off-the-run on the days leading up to a new issuance, and (iii) average bid-ask

spreads quoted by dealers before and after January 1, 2016. (Id. ¶¶ 179-221.) Plaintiffs maintain



                                                 -11-
         Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 21 of 69



that this analysis of average prices and bid-ask spreads both during and after the proposed class

period is somehow “consistent with a price-fixing conspiracy.” (Id. ¶ 179.) None of Plaintiffs’

statistical analysis, however, addresses the initial discounted price of callable bonds after they are

declared FTT, the subject of Plaintiffs’ so-called “direct evidence.”

                                            ARGUMENT

I.       Plaintiffs Fail to Plead a Plausible Overarching Conspiracy to Fix the Secondary-
         Market Price of Every GSE Bond Transaction.

         Under Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 553 (2007), the CAC’s allegations

fall well short of adequately pleading a sprawling conspiracy among 16 dealers to fix the price of

every secondary-market transaction in every bond issued by four GSEs over a seven-year period.11

         “A plaintiff’s job at the pleading stage, in order to overcome a motion to dismiss, is to

allege enough facts to support the inference that a conspiracy actually existed.” Mayor & City

Council of Balt. v. Citigroup, Inc., 709 F.3d 129, 136 (2d Cir. 2013). “[T]here are two ways to do

this.” Id. First, a plaintiff may allege “direct evidence” of a conspiracy—i.e., “evidence that is

explicit and requires no inferences to establish the proposition or conclusion being asserted.”

Burtch v. Milberg Factors, Inc., 662 F.3d 212, 225 (3d Cir. 2011). Second, a plaintiff may allege

“circumstantial facts supporting the inference that a conspiracy existed.” Citigroup, 709 F.3d

at 136. These “circumstantial facts” ordinarily consist of allegations that defendants engaged in

parallel conduct, accompanied by so-called “plus factors” raising a plausible inference that the

parallel conduct “flowed from a preceding agreement.” Id. at 137-38.

         Plaintiffs do neither here. Their “direct evidence” does not suggest a broad conspiracy to

fix the prices of secondary-market transactions across GSE bonds over seven years, and the CAC

pleads neither parallel conduct nor “plus factors” that support a plausible inference of such a


11
     Unless otherwise indicated, all internal citations, alterations and quotation marks are omitted.
                                                  -12-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 22 of 69



massive conspiracy involving tens of thousands of bonds and hundreds of thousands of trades.

Plaintiffs’ improper resort to group pleading only reinforces the implausibility of the alleged

overarching conspiracy involving 15 different Defendants. Finally, Plaintiffs’ flawed statistical

analysis of bond prices and bid-ask spreads does not make their all-encompassing conspiracy any

more plausible.

       A.      Plaintiffs Fail to Plead “Direct Evidence” of an Overarching Conspiracy.

       Conspiracies “concern[ing] long-term complex relationships among competitors” (as is

alleged here) should be “more susceptible of direct proof.” Apex Oil Co. v. DiMauro, 822 F.2d

246, 253 (2d Cir. 1987). Despite touting “smoking gun” evidence from a “cooperating” dealer

(CAC ¶ 3), the only purported “direct evidence” that Plaintiffs cite are four chats, among different

combinations of only four Defendants, concerning a total of four callable bonds (id. ¶¶ 147-52).

Those communications do not raise a plausible inference of a broad price-fixing conspiracy

involving all secondary-market transactions in tens of thousands of bonds over seven years.

               1.      The Four Chats Reflect Lawful Discussions Among Co-Underwriters
                       About the Bonds They Underwrote, Not Price Fixing.

       The four chats cited in the CAC are not direct evidence of illegal price fixing. All four

involved communications among co-underwriters operating as an underwriting syndicate. (Id.

¶¶ 147-52.) Plaintiffs themselves acknowledge the crucial role syndicates play in bringing GSE

bonds to market. (Id. ¶ 127.) As the CAC alleges, dealers in the “syndication” phase work together

to place the newly issued bonds in the “primary market,” and they “are permitted to communicate

with each other to effectuate [that] initial placement.” (Id. ¶ 128; see also id. ¶ 160.) In performing

this function, syndicate members can and need to “discuss pricing.” (Id. ¶ 11.) According to

Plaintiffs, “the syndication phase ends” when the co-underwriters “declare the new issuance” FTT,

and only then does “secondary market trading begin[].” (Id. ¶ 129.)


                                                 -13-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 23 of 69



       Plaintiffs admit that three of the four chats discussed in the CAC reflect communications

among co-underwriters, acting as a syndicate, before any secondary-market trading occurred.12

These three chats each involve a discussion among syndicate members about whether to declare

the bonds FTT and offer the bonds at a discounted price below par. (Id. ¶¶ 148-49, 152.) The

CAC fails to explain how or why such a discussion is direct evidence of unlawful price fixing in

the secondary market when syndicate members “are permitted to communicate with each other”

during the syndication phase and when the discussions do not reflect an anticompetitive agreement

related to secondary-market trading. (Id. ¶ 128.) And while the fourth chat allegedly reflects

continuing communications among co-underwriters after the bonds were declared FTT (id. ¶ 150),

the chat itself makes clear that the dealers did not agree on a price. After a DBSI trader stated, “I

know we’re FTT, and anyone can hit any bid, but given that it’s day #2 w/ these bonds, figure

maybe we at least try and stay on the same page,” a Goldman Sachs trader responded, “if we are

free to trade, we cannot talk about prices.” (Id.) The DBSI trader then replied, “ok. Fair enough,”

and the communication ended. (Id.) Nothing in that chat provides any direct or “smoking gun”

evidence of an agreement to fix the price of secondary-market trades. Citigroup, 709 F.3d at 136.

       Despite Plaintiffs’ possession of “pricing data for over 13,117 GSE Bonds encompassing

a total of 1.6 million GSE Bond transactions” (CAC ¶ 6), the CAC says nothing about the actual

prices paid for the bonds discussed in the chats after the bonds went FTT. That omission is

particularly glaring because the same TRACE data on which Plaintiffs rely (id. ¶¶ 10, 185 & n.6,

207, 212) reveal that the potential prices referenced in the chats generally were not the prices at



12
    See CAC ¶ 148 (February 2012 chat occurred “[p]rior to selling those bonds in the secondary
market); ¶ 149 (September 2013 chat occurred “prior to selling GSE Bonds newly issued by FHLB
in the secondary market”); ¶ 152 (discussions among co-underwriters while in syndicate).



                                                -14-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 24 of 69



which the bonds actually traded in the secondary market.13

       For example, the CAC alleges that co-underwriters DBSI, Morgan Stanley, and BNPP

discussed in February 2012 a callable bond issued by FHLB with the CUSIP identifier

313378BR1.14 In the quoted chat, the traders discuss going FTT and reference a potential initial

discounted price of 99.985. (CAC ¶ 148.) According to TRACE data, after the bond went FTT,

the very next sale was at a price of 99.97—i.e., below the price discussed in the chat. (See Ex. 8

(TRACE data summary for CUSIP 313378BR1).) Indeed, after the date of the quoted chat, a total

of 53 sales of this bond occurred, and all but 14 were at a price below 99.985. (Id.) Accordingly,

nothing in the actual trading history of this bond suggests anything resembling an agreement

among the co-underwriters to fix secondary-market prices. This is not an isolated example: after

going FTT, the bonds discussed in three of the four chats quoted in the CAC repeatedly traded in

the secondary market at a price below the initial discounted price discussed in the chats.15


13
    The Court may take judicial notice of pricing data on a motion to dismiss. See Ganino v.
Citizens Utils. Co., 228 F.3d 154, 166 n.8 (2d Cir. 2000) (collecting cases). Indeed, courts have
considered trading data, including TRACE data, on motions to dismiss. See, e.g., In re Initial Pub.
Offering Sec. Litig., 383 F. Supp. 2d 566, 585 (S.D.N.Y. 2005); Bruce v. Suntech Power Holdings
Co. Ltd., 64 F. Supp. 3d 1365, 1369 n.2 (N.D. Cal. 2014).
14
   Plaintiffs fail to identify the GSE bonds referenced in the chats, despite alleging other details.
(CAC ¶¶ 147, 149, 150, 152.) The Court may take judicial notice of offering documents and term
sheets tied to each bond. See, e.g., In re TVIX Sec. Litig., 25 F. Supp. 3d 444, 449 (S.D.N.Y. 2014)
(“[o]n a motion to dismiss, the court may take judicial notice of offering documents”), aff’d sub
nom. Elite Aviation LLC v. Credit Suisse AG, 588 F. App’x 37 (2d Cir. 2014). The term sheet for
the referenced bond, 313378BR1, shows that it was a callable bond underwritten by DBSI, Morgan
Stanley, and BNPP. (See Ex. 2.) Although Plaintiffs refer to the quoted communication as a
“February 17, 2012” chat (CAC ¶ 148), the chat on its face states that it occurred on February 16,
2012.
15
   The September 1, 2011 chat between DBSI and BNPP (CAC ¶ 152) discusses a callable bond
issued by FFCB. (Ex. 1.) Although the chat mentions a potential price of 99.925, the TRACE
data show that the bond was sold the very next day at a price of 99.915, which is below the price
discussed in the chat, and was subsequently repeatedly sold below that price. (Ex. 9 (TRACE data
summary for CUSIP 31331KXS4).) Similarly, the July 17, 2012 chat among DBSI, BNPP,



                                                -15-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 25 of 69



       What is more, the initial discounted price of 99.985 referenced in the chat was set forth in

the bond’s term sheet available to all investors, which provides that the “issue price” for the bond

is “100 per cent” and that the co-underwriters may offer the bond to “[o]ther dealers participating

in the distribution of the Bonds” at “a selling concession of 0.015 per cent”—i.e., at 99.985 (100

minus 0.015 percent). (See Ex. 2 at 5.) Accordingly, the price mentioned in the chat (99.985)

matched exactly the dealer-concession price in the term sheet. If the underwriters discussed that

price when declaring the bonds FTT, they simply decided to offer the bonds to all purchasers, not

just other dealers, at the publicly disclosed discounted price (99.985).

       In sum, none of these chats is direct evidence of any conspiratorial agreement to fix

secondary-market prices.

               2.      The Four Chats Do Not Suggest an Overarching Conspiracy.

       Even if the chats were direct evidence of an agreement related to the price of the four

callable bonds they discuss, they manifestly are not “direct evidence” of the sweeping, seven-year

conspiracy Plaintiffs purport to allege. The chats are among only four named Defendants; none of

the other 11 Defendants is alleged to have participated in any chat at all.16 Moreover, the four

callable bonds discussed in the chats account for less than 0.03% of the total offerings of GSE

bonds during the class period (CAC ¶ 134, Table 1), and the CAC alleges no facts suggesting that



Goldman Sachs, and Merrill Lynch (CAC ¶ 150) discusses a callable bond issued by FFCB. (Ex.
3.) Although the chat references a potential price of 99.875, the TRACE data show that, on the
very next day, the bond was traded seven times at various prices below 99.875. (Ex. 10 (TRACE
data summary for CUSIP 3133EAZF8).) The TRACE data exhibits remove “cancelled” trades,
incorporate reported trade “corrections,” and remove duplicate buy-side inter-dealer trades to the
extent the sell-side of the inter-dealer trade is already reported.
16
    While Plaintiffs assert in a single conclusory sentence that their alleged cooperator “directly
implicated” each Defendant “in this misconduct” (CAC ¶ 146), the four cited chats involve only
four Defendants (id. ¶¶ 148-52), and do not show the alleged misconduct. Plaintiffs’ conclusory
allegation lumping all 15 Defendants together is impermissible group pleading. See infra
Argument I.C.
                                                -16-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 26 of 69



the four chats are direct evidence of a sweeping, market-wide conspiracy involving all transactions

in tens of thousands of GSE bonds over a seven-year period. See Burtch, 662 F.3d at 225 (“Direct

evidence of a conspiracy is evidence that is explicit and requires no inferences to establish the

proposition or conclusion being asserted.”).

       Nor could it. Different combinations of the 65 approved dealers that participated in

underwriting GSE bonds formed tens of thousands of separate syndicates at different times during

the class period. Plaintiffs do not contend that the 50 non-defendant dealers conspired in any way.

Given that various combinations of 65 dealers participated in underwriting syndicates—and that

many thousands of bonds were issued during the class period (see CAC ¶ 6)—Plaintiffs’ allegation

of a broad, market-wide conspiracy is implausible. Nothing in the chats remotely suggests that

any “agreement” extended to other offerings or to other dealers not participating in these chats.

       Furthermore, even with the aid of a “cooperator,” Plaintiffs never describe how an

overarching conspiracy involving 16 different dealers operating in small, time-limited groups in

thousands of different syndicates purportedly functioned over a seven-year period. See Chubirko

v. Better Bus. Bureau of S. Piedmont, Inc., 763 F. Supp. 2d 759, 765 (W.D.N.C. 2011) (dismissing

complaint after finding that “the sheer breadth and scope of the conspiracy alleged . . . alone

renders Plaintiff[s’] claims facially implausible” because it would require a degree of

“organization and cooperation [that is] practically impossible”). Nor do Plaintiffs explain how the

wide-ranging conspiracy would consistently turn a profit, when other, non-defendant dealers—

which, according to the CAC, underwrote close to 23% of GSE offerings (CAC ¶ 134)—actively

traded in the secondary market. Plaintiffs fail to explain why, if Defendants charged inflated prices

for the bonds they underwrote, investors would not simply trade with other dealers that offered

alternative GSE bonds with similar characteristics at better prices. (Id. ¶¶ 111, 127, 154.)



                                                -17-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 27 of 69



        These gaps in the CAC render its allegations of an overarching conspiracy implausible.

See In re Iowa Ready-Mix Concrete Antitrust Litig., 768 F. Supp. 2d 961, 972 (N.D. Iowa 2011)

(dismissing claim where plaintiffs failed to allege facts “that could tie together the specific, discrete

incidents” to “the overarching all-defendant four-plus-year conspiracy” asserted by plaintiffs); In

re Optical Disk Drive Antitrust Litig., 2011 WL 3894376, at *9 (N.D. Cal. 2011) (dismissing claim

where allegations of sporadic conduct were “a far cry from establishing plausibility for a broad six

year continuing agreement among all defendants”); In re Zinc Antitrust Litig., 155 F. Supp. 3d

337, 369-70 (S.D.N.Y. 2016) (allegations regarding defendants’ conduct at “only one point in

time” were insufficient to “support the broad scheme alleged”).

                3.      Plaintiffs’ Direct Evidence Is Limited to Callable Bonds.

        As noted above, all four chats discussed callable bonds.17 (See Exs. 1-4.) Plaintiffs plead

no direct evidence relating to non-callable bonds such as benchmarks and reference notes, which

account for most of the trading during the class period. See In re Elevator Antitrust Litig., 502

F.3d 47, 52 (2d Cir. 2007) (dismissing claims where “Plaintiffs provide[d] an insufficient factual

basis for their assertions of a” conspiracy in one geographic market based on “[a]llegations of

anticompetitive wrongdoing” in another geographic market). Unlike ad hoc offerings of callable

bonds, offerings of non-callable benchmarks and notes occur on a pre-set schedule established by

the issuer and more closely resemble a traditional underwriting:             before the offering, the

underwriters build a book of investors to purchase the bonds, and the bonds go FTT almost

immediately after they are priced with the issuer. See supra at 3-4. There is thus no occasion or

need for the underwriters of non-callable bonds to discuss when to declare the bonds FTT and at



17
   The same is true of the other four bonds referenced elsewhere in the CAC that supposedly are
“among those whose FTT prices Defendants and their co-conspirators agreed to fix during the
Class Period.” (CAC ¶ 238; see also Exs. 2, 5-7.)
                                                  -18-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 28 of 69



what initial discount to par.

               4.      Plaintiffs Do Not Allege Any Direct Evidence Relating to the
                       Price of Previously Issued Bonds or to Bid-Ask Spreads.

       The CAC appears to suggest that Defendants somehow also conspired to (i) inflate

secondary-market prices of soon-to-be off-the-run bonds in the days before new issuances (e.g.,

CAC ¶ 8), and (ii) artificially widen bid-ask spreads (id. ¶ 9). Plaintiffs plead no direct evidence

that supports these allegations; indeed, the four chats cited in the CAC have absolutely nothing to

do with previously-issued GSE bonds that are about to go off-the-run18 or with bid-ask spreads.

       B.      Plaintiffs Fail to Allege Parallel Conduct or “Plus Factors” That Create a
               Plausible Inference of an Overarching Conspiracy.

               1.      Plaintiffs Do Not Even Attempt to Plead Parallel Conduct.

       Plaintiffs make no attempt to plead facts suggesting that Defendants engaged in parallel

conduct, let alone parallel conduct suggesting a conspiracy to fix secondary-market prices of any

GSE bonds. The CAC is devoid of factual allegations about uniform and consistent pricing of

GSE bonds by Defendants. Cf., e.g., In re Currency Conversion Fee Antitrust Litig., 773 F. Supp.

2d 351, 367-73 (S.D.N.Y. 2011) (alleging multi-year period when each defendant implemented

same foreign-currency conversion fee); Alaska Elec. Pension Fund v. Bank of Am. Corp., 175 F.

Supp. 3d 44, 54 (S.D.N.Y. 2016) (alleging multi-year period when each defendant made ISDAfix

submissions reflecting “exact same bid/ask spread” nearly every day). Instead, Plaintiffs point to

four isolated communications among different combinations of only four Defendants and cite

statistical averages that say nothing at all about the conduct of any particular Defendant.




18
   Indeed, the concept of “off-the-run” bonds generally does not exist for callable bonds, and
Plaintiffs do not allege otherwise.
                                                -19-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 29 of 69



               2.      Plaintiffs Do Not Plead Viable “Plus Factors.”

       In addition to parallel conduct, a plaintiff must allege additional facts and circumstances—

“plus factors”—creating a plausible inference that any alleged parallel conduct “flowed from a

preceding agreement.” Citigroup, 709 F.3d at 137. “Plus factors” that may support a plausible

inference of conspiracy include: “(1) a common motive to conspire; (2) evidence that shows that

the parallel acts were against the apparent individual economic self-interest of the alleged

conspirators; and (3) evidence of a high level of interfirm communications.” In re Interest Rate

Swaps Antitrust Litig. (“In re IRS”), 261 F. Supp. 3d 430, 463 (S.D.N.Y. 2017). Even if the Court

were to consider the CAC’s conclusory allegations of “plus factors,” which it need not do given

the CAC’s failure to allege any parallel conduct,19 the “plus factors” that Plaintiffs recite are

insufficient to raise a plausible inference of a massive, market-wide conspiracy.

       Common Motive to Conspire. The CAC asserts that “GSEs monitored Defendants’

performance in the secondary market and awarded underwriting privileges based in part on success

in the secondary market,” which Plaintiffs argue “gave Defendants a motive to conspire.” (CAC

¶ 172.) To plead a common motive to conspire, however, a plaintiff must do more than allege that

each defendant had an interest in maximizing its profits, which is always the case. See, e.g., In re

Musical Instruments & Equip. Antitrust Litig., 798 F.3d 1186, 1194 n.8 (9th Cir. 2015) (“common

motive for increased profits always exists”); In re Late Fee & Over-Limit Fee Litig., 528 F. Supp.

2d 953, 964 (N.D. Cal. 2007) (“[I]f a motive to achieve higher prices were sufficient, every

company in every industry could be accused of conspiracy because they all would have such a

motive.”), aff’d, 741 F.3d 1022 (9th Cir. 2014). Instead, a plaintiff must allege that the defendants



19
   See In re IRS, 261 F. Supp. 3d at 471 (“Given the few well-pled allegations of parallel relevant
activity among Dealers . . . , there is, arguably, no charter to inquire into the existence of the three
‘plus factors’ identified by the Second Circuit.”).
                                                 -20-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 30 of 69



had a strong interest in conspiring to engage in conduct that they were unlikely to undertake absent

a conspiracy. See Twombly, 550 U.S. at 566 (“no reason to infer that the companies had agreed

among themselves to do what was only natural”). The CAC makes no effort to allege that here.

       Parallel Acts Against Self-Interest. Plaintiffs fail to allege any parallel acts at all by

Defendants, much less parallel acts that were against each Defendant’s economic self-interest.

       Interfirm Communications.            Plaintiffs assert that “because Defendants could

communicate freely with one another during the underwriting and syndication of GSE Bonds, they

were able to use those [same] lines of communication to enter into illegal agreements about

pricing.” (CAC ¶ 162.) Plaintiffs also allege that “traders and sales personnel . . . had well-

established relationships” and “overlapping employment” at different dealers (id. ¶ 166) and

“gathered for social and industry events” (id. ¶ 168). These allegations amount, at most, to an

opportunity to conspire, which alone cannot support an inference of conspiracy. Capital Imaging

Assocs., P.C. v. Mohawk Valley Med. Assocs., Inc., 996 F.2d 537, 545 (2d Cir. 1993) (“The mere

opportunity to conspire does not by itself support the inference that such an illegal combination

actually occurred.”); In re Aluminum Warehousing Antitrust Litig., 2014 WL 4277510, at *33

(S.D.N.Y. Aug. 29, 2014) (“plaintiffs’ allegations . . . amount only to a potential[] opportunity to

communicate, which is nothing more than a bare assertion incapable of supporting a plus-factor

on its own”), aff’d, 833 F.3d 151 (2d Cir. 2016). Likewise, allegations about participation in

industry events and attendance at conferences (CAC ¶¶ 169-70) are insufficient to plead a “plus

factor.” Twombly, 550 U.S. at 567 n.12 (rejecting inference of conspiracy based on participation

in trade association); In re Elevator Antitrust Litig., 2006 WL 1470994, at *11 (S.D.N.Y. May 30,

2006) (allegation that “company executives attend trade, industry, or social functions together is

clearly insufficient to state a claim”), aff’d, 502 F.3d 47 (2d Cir. 2007).



                                                 -21-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 31 of 69



       Market Concentration and Barriers to Entry. The CAC alleges that “[t]here is a high

level of industry concentration in,” and “high barriers to entry into,” what Plaintiffs call “the GSE

Bond market.” (CAC ¶¶ 176-77.) But the CAC fails to explain how a putative market in which

16 of the largest dealers collectively account for only 77% of the underwritings and have “market

shares” ranging from 0.13% (SG) to 14.07% (Barclays) is “highly concentrated.” (Id. ¶ 134 &

Table 1.) Such widely dispersed “market shares” do not resemble a highly concentrated market

with attendant risk of price fixing. See VII PHILLIP E. AREEDA & HERBERT HOVENKAMP,

ANTITRUST LAW ¶ 1431a, at 214 (2d ed. 2003) (“[E]mpirical studies considering many industries

have suggested that noncompetitive pricing is likely to appear when the four leading firms account

for some 50 to 80 percent of the market.”) (emphasis added).20 Plaintiffs also make no effort to

reconcile their allegation of “high barriers to entry” (CAC ¶ 177) with the fact that 65 dealers in

total are authorized to underwrite GSE bonds.

       The Bloomberg Article. Plaintiffs also point to the June 2018 Bloomberg article reporting

on the DOJ’s inquiry into potentially manipulative trading in Fannie Mae and Freddie Mac bonds.

(Id. ¶¶ 155-57.) Under settled law, “the mere fact that regulatory entities have investigated, and

may still be investigating, the possibility of misconduct” does not constitute a “plus factor.” In re

Commodity Exch., Inc., Gold Futures & Options Trading Litig. (“Gold”), 213 F. Supp. 3d 631,

662 (S.D.N.Y. 2016).21 The Bloomberg article is also so general that it provides no support for


20
   The Herfindahl-Hirschman Index (“HHI”) implied by Plaintiffs’ Table 1 (CAC ¶ 134) is as low
as 570.9, far below the 1500 upper threshold set by the DOJ and the Federal Trade Commission
for markets those agencies consider to be “unconcentrated” and competitive. See U.S. Dep’t of
Justice and Fed. Trade Comm’n, Horizontal Merger Guidelines at 19 (Aug. 19, 2010), available
at https://www.ftc.gov/sites/default/files/attachments/merger-review/100819hmg.pdf.
21
  See also In re London Silver Fixing, Ltd., Antitrust Litig., 213 F. Supp. 3d 530, 560 (S.D.N.Y.
2016) (holding that “ongoing government investigations into possible manipulation of” a particular



                                                -22-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 32 of 69



Plaintiffs’ allegations. Cf. In re Propranolol Antitrust Litig., 249 F. Supp. 3d 712, 723-24

(S.D.N.Y. 2017) (finding allegations of DOJ investigation relevant where alleged co-conspirator

had been charged with and pled guilty to price-fixing).

       Other Cases and Investigations in Unrelated Markets. Plaintiffs cannot salvage their

claim of an overarching conspiracy by referring to prior cases and investigations involving other

financial products and some (but not all) Defendants. (CAC ¶¶ 227-34.) Many Defendants had

nothing to do with those cases or investigations, and “evidence of [certain] Defendants’

wrongdoing with respect to LIBOR and FX and the existence of regulatory investigations into the

precious metals markets do not substantiate Plaintiffs’ antitrust claim[]” with respect to GSE

bonds. Gold, 213 F. Supp. 3d at 661. Those allegations are the kind of “if it happened there, it

could have happened here” allegations that the Second Circuit has rejected. In re Elevator, 502

F.3d at 52.

       C.      Plaintiffs’ Resort to Group Pleading Underscores the Implausibility of the
               Alleged Overarching Conspiracy.

       Plaintiffs bear the burden of alleging facts sufficient to support a plausible inference that

each of the Defendants “in their individual capacities, consciously committed themselves to a

common scheme designed to achieve an unlawful objective.” In re IRS, 261 F. Supp. 3d at 478

(quoting AD/SAT, a Div. of Skylight, Inc. v. Associated Press, 181 F.3d 216, 234 (2d Cir. 1999))

(emphasis added). Plaintiffs thus must allege “specifics with respect to the acts of [each] particular

defendant.” In re Parcel Tanker Shipping Servs. Antitrust Litig., 541 F. Supp. 2d 487, 491-92 (D.

Conn. 2008). “Mere generalizations as to any particular defendant—or even defendants as a



instrument is not a plus factor, especially where “none of the regulatory investigations cited by
Plaintiffs has advanced to the point of charging any of the Defendants”); LaFlamme v. Société Air
France, 702 F. Supp. 2d 136, 154 (E.D.N.Y. 2010) (allegation of investigation “‘carries no weight
in pleading an antitrust conspiracy claim’”).
                                                -23-
       Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 33 of 69



group—are insufficient.” In re Zinc, 155 F. Supp. 3d at 384. Accordingly, a complaint that

describes a conspiracy in “general terms without any specification of any particular activities by

any particular defendant” is “nothing more than a list of theoretical possibilities, which one could

postulate without knowing any facts whatever.” In re Elevator, 502 F.3d at 50-51; see also Hinds

Cty., Miss. v. Wachovia Bank N.A., 708 F. Supp. 2d 348, 362 (S.D.N.Y. 2010) (plaintiffs must

allege a “factual connection between each Defendant and the alleged conspiracy”).

       The CAC does not satisfy these basic pleading requirements.            Instead, it relies on

generalized allegations directed at “Defendants” as an undifferentiated whole. Plaintiffs’ improper

resort to group pleading underscores the implausibility of the alleged overarching conspiracy, and

is an independent basis for dismissal. See In re IRS, 261 F. Supp. 3d at 470-71 (dismissing portion

of antitrust claim where allegations “[took] the form of conclusory group pleadings”).

               1.      Plaintiffs’ Group Pleading Is Fatal to Their Claims Against All
                       Defendants.

       The CAC fails to plead a single non-conclusory allegation that any Defendant participated

in a market-wide conspiracy, much less that each Defendant did. Rather, Plaintiffs rely on

generalized commentary about the marketplace (CAC ¶¶ 158-78), statistics that fail to isolate the

conduct of any individual Defendant (id. ¶¶ 179-221), and four chats among different combinations

of only four out of 15 Defendants discussing specific bonds (id. ¶¶ 144-54).             For certain

Defendants, Plaintiffs plead no individualized facts whatsoever.22 These Defendants were not

participants in the four identified chats, and the CAC alleges only that they are approved GSE

bond dealers that underwrite GSE bonds and trade them in the secondary market. (Id. ¶¶ 27-106,



22
   Those Defendants are Barclays, Cantor, Citi, Credit Suisse, First Tennessee (“FTN”), HSBC,
JPMorgan, Nomura, SG, TD, and UBS. Although Cantor was a co-underwriter of the bond
discussed in one chat (CAC ¶ 152), it was not a participant in the relevant chat, and there is no
suggestion that Cantor agreed to anything.
                                               -24-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 34 of 69



134, 245, 249, 251, 253-54, 261.) The mere fact that they underwrite and trade bonds does not

support an inference that these Defendants—or any other Defendant—participated in a monolithic

conspiracy to fix the prices of hundreds of thousands of transactions in tens of thousands of bonds

over a seven-year period. See Gold, 213 F. Supp. 3d at 678 (participation in market “does not

constitute circumstantial evidence of misconduct; such allegations could apply to any number of

large banks, none of which is (or could be) named as defendants on that basis”). The absence of

non-conclusory allegations as to these Defendants requires dismissal. See Citigroup, 709 F.3d at

135-36 (allegation of “conspiracy” or “agreement” is a “legal conclusion, not a factual allegation”).

       Plaintiffs’ lack of individualized allegations is particularly pronounced with respect to their

assertion that Defendants “artificially widened” bid-ask spreads in the secondary market.

(CAC ¶ 211.) Plaintiffs make no allegation about any individual Defendant’s quoted bid-ask

spreads. While the CAC relies on several statistics about spreads (id. ¶¶ 214, 216, 220), not a

single one isolates the conduct of any Defendant or identifies any allegedly tainted transactions

with any Plaintiff. Rather, Plaintiffs rely on averages and/or aggregate pricing quotes across

differing sets of market participants. For the single statistic that purports to isolate quotes by seven

Defendants (Figure 6), Plaintiffs again report only aggregate results. This aggregation of data—

group pleading in another guise—says nothing about any individual Defendant’s quoted bid-ask

spreads, much less its completed transactions.

               2.      Plaintiffs’ Claims Against Some Defendants Are Even More Deficient
                       for Additional Reasons.

                       a.      For a group of Defendants, Plaintiffs do not allege direct
                               evidence, statistical evidence, or specific transactions.

       Even if Plaintiffs had alleged a plausible antitrust conspiracy here (they have not), their

allegations fail to connect many Defendants to the purported conspiracy, for one or more of three

additional reasons, discussed further below: (i) Plaintiffs allege no chats or any other “direct

                                                 -25-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 35 of 69



evidence” of conspiracy concerning these Defendants, (ii) Plaintiffs’ statistical allegations do not

apply to them, and (iii) Plaintiffs fail to plead that they entered into specific transactions with them.

        For five Defendants in this group—FTN, HSBC, Nomura, TD, and UBS—the CAC is

utterly devoid of any such allegations.23 Absent any connection between these Defendants and the

CAC’s core allegations, Plaintiffs are left only with generic assertions about their presence in the

marketplace for GSE bonds. (See, e.g., CAC ¶¶ 60-73, 79-92, 134.) It is well settled, however,

that mere industry participation is insufficient to plead an antitrust conspiracy. For that very

reason, several courts have singled out specific defendants, including HSBC and UBS, and

dismissed them from conspiracy cases that went forward against other defendants. See, e.g., In re

IRS, 261 F. Supp. 3d at 483 (holding that allegations directed at HSBC were “too sparse to sustain”

plaintiffs’ claims); In re Platinum & Palladium Antitrust Litig., 2017 WL 1169626, at *51

(S.D.N.Y. Mar. 28, 2017) (dismissing claims against UBS because complaint did “not plausibly

support an inference that UBS was part of the alleged conspiracy”); Gold, 213 F. Supp. 3d at 678

(“The fact that UBS is a market maker . . . does not constitute circumstantial evidence of

misconduct; such allegations could apply to any number of large banks, none of which is (or could

be) named as defendants on that basis.”). The same analysis applies here.

        No “Direct Evidence” Allegations. Although the CAC identifies four “chats” among co-

underwriters that Plaintiffs characterize as “direct evidence” of a price-fixing conspiracy, none of

those chats included Barclays, Cantor, Citi, Credit Suisse, FTN, HSBC, JPMorgan, Nomura, SG,



23
   For a sixth Defendant—Citi—the CAC is likewise defective for these three reasons, except that
a single transaction not plausibly connected to the alleged conspiracy is identified. (CAC ¶ 261.)
And a seventh Defendant—Cantor—is mentioned in one chat but did not itself participate in it.
(Id. ¶ 152.)



                                                  -26-
         Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 36 of 69



TD, or UBS. (CAC ¶¶ 144-54.) Instead, the only material allegations directed at those Defendants

appear at Paragraphs 4 and 146.24 There, Plaintiffs merely include these Defendants on a laundry

list of all Defendants in their wholly conclusory allegations that (i) Defendants are “directly

implicated in conspiratorial multi-bank chats regarding pricing in the secondary market for GSE

Bonds,” and (ii) the “cooperating” dealer “directly implicated [them] in this misconduct.” (Id.

¶¶ 4, 146 (emphasis added).)            Plaintiffs’ assertions that these Defendants participated in

unidentified “conspiratorial” communications and unspecified “misconduct” are merely “legal

conclusion[s]” that carry no weight in pleading an antitrust conspiracy. See Citigroup, 709 F.3d

at 135-36 (allegation of “conspiracy” or “agreement” is a “legal conclusion”); Starr v. Sony BMG

Music Entm’t, 592 F.3d 314, 319 n.2 (2d Cir. 2010) (“The allegation that defendants agreed to this

price floor is obviously conclusory, and is not accepted as true.”). Moreover, once the conclusory

terms “conspiratorial” and “misconduct” are stripped away, all that remains of these allegations is

an assertion that these Defendants communicated about GSE bonds with other dealers. (CAC ¶¶ 4,

146.) Those allegations have no probative value because, as Plaintiffs acknowledge, GSE bonds

are underwritten by syndicates, and “traders involved in GSE Bond syndicates . . . were allowed

to participate in multi-bank chat rooms to discuss pricing” of the bonds they underwrote.

(Id. ¶ 11 (emphasis added); see also id. ¶¶ 128, 160.)

         No Statistical Allegations. Plaintiffs likewise fail to plead any individualized facts

establishing that the CAC’s purported statistical analyses—all of which are fatally flawed—even

pertain to eight Defendants (Cantor, Citi, FTN, HSBC, Merrill Lynch, Nomura, TD, and UBS).

Because all of Plaintiffs’ statistics are presented in the aggregate, none are specific to these eight

Defendants (or any other individual Defendant).           See infra Argument I.D.      Besides these



24
     SG is not listed in Paragraph 4.
                                                   -27-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 37 of 69



fundamental deficiencies in Plaintiffs’ analyses, Plaintiffs concede that the bid-ask-quote data

analyzed in the CAC do not even include quotes from these eight Defendants. (CAC ¶ 217 n.13.)25

       Furthermore, Plaintiffs previously advised the Court in their lead-counsel application that

their statistical analyses did not identify any anomalous transactions by Cantor, HSBC, Nomura,

SG, or TD. (ECF No. 95 at 6-7.)26 That is doubtless why HSBC, Nomura and TD were not named

in most of the complaints filed in this matter, and why Cantor and SG were not identified in any

of the previous complaints. All five Defendants appear to have been added to the CAC only as an

afterthought.

       No Allegations of Transactions with Plaintiffs. Plaintiffs also fail to plead that certain

Defendants engaged in any specific transactions with them. Because Plaintiffs have not come

close to alleging that all syndicates fixed the prices of all GSE bonds sold over a seven-year period,

they bear the burden of pleading that each Defendant participated in unlawful price-fixing with

respect to the particular bonds Plaintiffs purchased. See infra Argument III. Yet the CAC does

not specify any transaction that a Plaintiff entered into with Cantor, FTN, Goldman Sachs, HSBC,

Nomura, SG, TD, or UBS, much less a transaction allegedly affected by purported price-fixing.

(See CAC ¶¶ 238-61.) Additionally, Plaintiffs identify only a single sale to each of Citi and Credit

Suisse—one 2.5 years, and the other almost 2 years, after the relevant bond was issued (id. ¶¶ 253,




25
   The CAC alleges that SG quotes were included in the aggregate dataset it purportedly used.
(CAC ¶ 217 n.13.) With an alleged market share of only 0.13%, however, SG’s contribution to
any dataset would be immaterial. (Id. ¶ 134 & Table 1.)
26
   Plaintiffs previously reported that their initial complaint “correctly identified the Defendants,
in part, because Plaintiffs were able to confirm their identity using ‘unmasked’ FFB pricing data
rather than the readily available anonymous trading data.” (ECF No. 95 at 7.)



                                                -28-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 38 of 69



261)—that are not plausibly connected to the alleged conspiracy to increase prices shortly after

bonds entered the secondary market (id. ¶¶ 144-54).

                       b.      FTN illustrates the defects in Plaintiffs’ group pleading.

       Not only is the claim against FTN defective for the reasons identified above, but neither

of the two datasets used by Plaintiffs—FINRA’s TRACE data and MarketAxess’s bid-ask-quote

data—include transactions reported or quoted by FTN’s GSE trading desk.27 Plaintiffs’ conclusory

group-pleading allegations do not remotely connect FTN to the alleged conspiracy, nor do they tie

any other Defendant to the purported conspiracy.

       D.      Plaintiffs’ Statistics Are Fatally Flawed and Unreliable.

       Plaintiffs rely heavily on statistics, summarized in a series of charts, that they assert show

“supracompetitive prices for GSE Bonds” between January 1, 2009 and January 1, 2016. (CAC

¶¶ 6, 179-221.) Plaintiffs argue that these statistics “are consistent with a price-fixing conspiracy.”

(Id. ¶ 179.) As the Supreme Court held in Twombly, however, allegations that are “merely

consistent with” a conspiracy are insufficient to state a claim. 550 U.S. at 557. That is reason

enough to disregard them.

       Moreover, Plaintiffs’ abrupt reversals from their initial complaint expose the contrived and




27
   Plaintiffs’ data may include transactions reported by another Defendant for which FTN was a
customer, but the data do not include transactions reported by FTN’s GSE trading business. FTN’s
GSE trading business is part of First Tennessee Bank National Association, and that entity does
not report TRACE data because it is not a FINRA-regulated broker-dealer. See FINRA, Firms We
Regulate, https://www.finra.org/about/firms-we-regulate (listing FINRA-regulated broker-
dealers); FINRA, Frequently Asked Questions (FAQ) about the Trade Reporting and Compliance
Engine (TRACE), http://www.finra.org/industry/trace/trace-faq (“The TRACE reporting
obligations apply only to FINRA member firms.”). Although Defendant FTN Financial Securities
Corp. (“FTNFSC”) is a FINRA-regulated broker-dealer, FTNFSC is not the entity that houses
FTN’s GSE bond trading business and its activity in GSE bonds is de minimis. See FTN Financial,
Fixed Income Sales & Trading, https://www.ftnfinancial.com/investment-services/fixed-income-
sales-and-trading.

                                                 -29-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 39 of 69



results-driven nature of their statistical allegations. For example, relying on virtually identical

data, Plaintiffs previously alleged that the conspiracy ended two years earlier, in April 2014.

(Compl. ¶¶ 10, 136.) By contrast, the Alaska plaintiff, relying on much of the same publicly

available data (ECF No. 101 at 7), alleged that its analysis showed that prices were competitive

before January 2012 and that the conspiracy lasted until June 2018. (Alaska Compl. ¶¶ 15, 90, 92,

107.) Plaintiffs also previously asserted that they had investigated “bid-ask spreads” for FFCB

and FHLB bonds, and found it “unlikely they were part of Defendants’ conspiracy” because those

bonds traded “with narrower bid-ask spreads, consistent with a normally functioning market.”

(ECF No. 131 at 2-3.) But the CAC now reverses course and asserts that Defendants conspired to

“artificially wide[n] bid-ask spreads” of FFCB and FHLB bonds. (CAC ¶¶ 211-21.)

       Plaintiffs make no attempt to harmonize the current version of their statistical allegations

with the different allegations they made earlier. Given these contradictions, the Court should not

treat Plaintiffs’ economic analysis as well-pleaded facts entitled to the presumption of truth. See

Palm Beach Strategic Income, LP v. Salzman, 457 F. App’x 40, 42-43 (2d Cir. 2012) (affirming

dismissal of amended complaint that “directly contradicted” prior complaints); see also In re

Commodity Exch., Inc. Silver Futures & Options Trading Litig. (“Silver”), 2013 WL 1100770, at

*4-5 (S.D.N.Y. Mar. 18, 2013) (dismissing complaint due to insufficiency and unreliability of

plaintiffs’ statistical and economic analyses), aff’d, 560 F. App’x 84 (2d Cir. 2014).

       Besides those contradictions, Plaintiffs’ statistics are fundamentally flawed and unreliable

on their own terms.     First, Plaintiffs have collapsed millions of transactions into a single

meaningless “average” that reveals nothing about pricing patterns over time. Second, none of

Plaintiffs’ statistics provide any information specific to any Defendant, and several charts do not

distinguish between transactions involving Defendants and those involving non-defendants, a



                                               -30-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 40 of 69



critical omission because Defendants are just 15 out of 65 authorized GSE underwriters. Third,

Plaintiffs’ underlying data and assumptions are opaque, cherry-picked, and presented in a

misleading manner.28 Fourth, Plaintiffs’ statistics fail to control for various factors, which render

the CAC’s conclusions inherently unreliable. And, fifth, aside from the common flaws that infect

all of Plaintiffs’ statistics, the CAC’s individual charts suffer from additional facial defects.

               1.      Plaintiffs’ Use of Averages Renders Their Analysis Unreliable.

       In each of Plaintiffs’ charts, a single “average” price or bid-ask spread, standing in for

millions of transactions during the class period, is compared to another single “average” price or

bid-ask spread for transactions after the class period. These comparisons of two sets of averages

are presented as evidence of pricing patterns that, according to Plaintiffs, can be explained only by

a price-fixing conspiracy. (See CAC ¶¶ 179-221 & Figs. 2-6.) But Plaintiffs’ exclusive reliance

on overbroad averages obscures all variations in the data—and the underlying reasons for any

differences, which may have nothing to do with Defendants—all of which undercuts the notion

that the charts are suggestive of any misconduct at all, let alone a sprawling, multi-year conspiracy.

       Rather than showing how prices changed over time by, for example, showing average

prices on a monthly, quarterly, or even annual basis (cf. Alaska Compl. ¶ 91), Plaintiffs elected to

reduce six years of pricing data before January 1, 2016 into a single, uninformative figure.

Plaintiffs’ oversimplified presentation of average data during and after the alleged conspiracy is

inherently susceptible to manipulation and thus unreliable. A single average price of $100 for a

six-year period could, for example, reflect five consecutive years with an average price of $20



28
   The data underlying Plaintiffs’ statistics are both inconsistent and incomplete. Plaintiffs’ data
begin 14 months into the class period because TRACE reporting did not become mandatory until
March 1, 2010. (CAC ¶ 185 n.6.) For Figures 2 through 5, Plaintiffs’ post-class period runs
through the end of 2017. (Id. ¶¶ 185-86, 192, 198, 216.) By contrast, Figure 6 indicates that its
post-class period runs through the end of 2018.
                                                 -31-
       Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 41 of 69



followed by a single year with an average price of $500 or six consecutive years with an average

price of $100 each.

       A comparison of the charts in Plaintiffs’ original complaint (for a class period ending

April 27, 2014) with the charts in the CAC (for a class period ending January 1, 2016)

demonstrates why averages are useless as evidence of a conspiracy.            The CAC’s alleged

“conspiracy period” now includes 20 months that previously were included in the post-conspiracy

“control period.” But in Figure 2, the average price in the control period increased from 0.4 basis

points (“bps”) in the original complaint to 1.2 bps in the CAC. (Compare Compl. ¶ 143 (Fig. 2),

with CAC ¶¶ 185-86 (Fig. 2).) If Plaintiffs’ two analyses were reliable and consistent, as a matter

of mathematics, for the average price in the control period to increase in the CAC, the average

price for the 20 months that were shifted into the alleged conspiracy period in the CAC must be

lower than the average price for the months that remained in the control period.29 But that is

inconsistent with Plaintiffs’ assertion that those 20 months were part of the alleged conspiracy. As

another example, Plaintiffs’ calculation of the average spread for riskless principal transactions

during the class period increased from 13.4 bps in the original complaint to 36.1 bps in the CAC.

(Compare Compl. ¶ 179 (Fig. 6), with CAC ¶ 216 (Fig. 5).) But that makes no sense. How could

the average bid-ask spread nearly triple simply by adding a 20-month period that the original

complaint alleged had lower bid-ask spreads than the rest of the conspiracy period? (See Compl.

¶¶ 175-79 & Fig. 6.) These anomalies show that Plaintiffs’ analysis based on averages is

completely unreliable.


29
   Similarly, in Figure 4, the expanded class period results in an increase in the average price for
the post-conspiracy control period compared to Treasury yields. (Compare Compl. ¶¶ 158-60
(Fig. 5), with CAC ¶ 197 (Fig. 4).) In Figure 5, the expansion results in an increase in the average
bid-ask spread for the post-conspiracy control period from 11.9 to 16.7 bps. (Compare Compl.
¶ 179 (Fig. 6), with CAC ¶ 216 (Fig. 5).)

                                               -32-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 42 of 69



       The CAC’s use of averages further obscures (i) the impact of changing macro-economic

conditions during the seven-year class period and the two-year control period to which it is

compared, (ii) all distinctions among prices charged for the bonds of each of the four issuers,

(iii) all differences in bond characteristics, including whether bonds were callable or non-callable,

as well as variations in tenor and/or notional amount, (iv) the distinction between primary-market

and secondary-market transactions, and (v) differences in the volume of GSE bonds issued during

the relevant period.30

               2.        Plaintiffs’ Data Fail to Distinguish Among Defendants or Between
                         Defendants and Non-Defendant Dealers.

       Plaintiffs’ statistics treat Defendants as a group without attempting to isolate the conduct

of any individual Defendant. The CAC’s “[a]ggregate data tell[] the Court little about the actual

position of any particular Defendant,” and they do not show that “any given Defendant” engaged

in any misconduct “consistently or even occasionally.” Gold, 213 F. Supp. 3d at 648; see also

Silver, 2013 WL 1100770, at *4 (dismissing complaint where statistics “reflect generalized

fluctuations” and “[p]laintiffs do not include allegations that are sufficiently factual—and not

conclusory—to connect or link these fluctuations to actions undertaken by [the defendant]”). This

deficiency is especially problematic because Defendants made up just 15 out of 65 approved GSE

dealers and often participated in syndicates with non-defendant dealers.             (CAC ¶ 133.)

Defendants’ shares of underwritings also varied widely, with no Defendant having a dominant

position in what is an unconcentrated “market” by any measure. (Id. ¶ 134 & Table 1.)


30
   For example, Fannie Mae and Freddie Mac issued almost $800 billion in debt in 1Q 2009, but
only $100 billion in 1Q 2014. See Fannie Mae, Debt Reports, http://www.fanniemae.com/
portal/funding-the-market/debt/reports/index.html; see also Fannie Mae, Debt Reports,
http://www.freddiemac.com/debt/securities-data/#detailFunding. Time periods with greater
issuances will be over-represented in Plaintiffs’ averages, while time periods with lesser issuances
will be under-represented.

                                                -33-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 43 of 69



       Two of the charts (Figures 2 and 5) do not even attempt to isolate Defendants as a group,

but instead look at all approved GSE bond dealers. While the other charts purport to distinguish

between Defendants and non-defendants, they are both over- and under-inclusive. Figures 3 and

4 are over-inclusive because they focus on bonds underwritten by Defendants without accounting

for the fact that Defendants often participated in syndicates with non-defendants. Figure 6 is

under-inclusive because Plaintiffs included price quotes from only seven out of 15 Defendants.

(Id. ¶ 217 n.13.)31 Even as to those seven, Plaintiffs do not isolate individual Defendants, nor do

they claim to have accounted for all or even most quotes during the relevant period. Instead, they

admit that “[g]enerally, the identity of the dealer supplying a GSE Bond quote is removed from

the data.” (Id. ¶ 217 n.12.)

               3.      Plaintiffs’ Underlying Data and Assumptions Are Opaque and
                       Unreliable.

       Plaintiffs fail to provide basic information about the data and assumptions underlying their

analysis, and the limited information they do disclose only casts doubt on their statistics.

Conclusory statistics are not entitled to any presumption of truth. 7 W. 57th St. Realty Co. v.

Citigroup, Inc., 2015 WL 1514539, at *12 (S.D.N.Y. Mar. 31, 2015) (opaque and unreliable data

that merely “flag[] the possibility of a conspiracy” are “not sufficient to meet the plausibility test

under Iqbal”), aff’d, 2019 WL 1914278 (2d Cir. Apr. 30, 2019).




31
    Plaintiffs could not identify in the data any quotes attributable to Cantor, Citi, FTN, HSBC,
Merrill Lynch, Nomura, TD, and UBS. (CAC ¶ 217 n.12 (“Generally, the identity of the dealer
supplying a GSE Bond quote is removed from the data”); ¶ 217 n.13 (“Quotes could be attributed
to [only] seven Defendants . . . .”).)



                                                -34-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 44 of 69



                        a.      Plaintiffs do not adequately identify their underlying data.

        Although Plaintiffs previously said they have “proprietary” data that identify Defendants

(ECF No. 95 at 8), the CAC does not disclose the source of those data, much less explain why they

are complete or reliable. The only sources the CAC identifies—TRACE and MarketAxess—do

not identify underwriters or counterparties.32 The Court need not credit statistical allegations based

on undisclosed data. Such allegations are akin to pleading bald conclusions rather than well-pled

facts. See, e.g., Silver, 2013 WL 1100770, at *4 (“statistical analyses” that are not “sufficiently

factual” are akin to “mere conclusory statements” entitled to no weight).

                        b.      Plaintiffs fail to account for underwriter concessions.

        In Figures 2, 3, and 4, Plaintiffs calculate “price inflation” as the difference between the

price paid to the GSE issuer and the price charged to investors for the bonds on offer days. (CAC

¶¶ 183, 189, 192, 198.) But this comparison fails to account for the underwriter concession, the

fee paid to the underwriter by the issuer for underwriting the bonds. (See id. ¶¶ 128-32.) The

underwriter concession is the difference between the price paid to the GSE and the price at which

bonds are sold to investors in the primary market. It is set by negotiations between the GSEs and

their underwriters and is publicly disclosed. (ECF No. 101 at 23.) By failing to account in their

comparisons for the underwriter concession—which has nothing to do with their claim—Plaintiffs

artificially increased the alleged price inflation by an amount that would vary on a bond-by-bond

basis, rendering their statistics meaningless. The Alaska plaintiff criticized Plaintiffs for this

fundamental flaw in their analysis (id. at 4-5, 23), yet Plaintiffs did nothing to correct it.




32
 See, e.g., FINRA, TRACE: The Source for Real-Time Bond Market Transaction Data at 3, http://
www.finra.org/sites/default/files/TRACE_Overview.pdf (“TRACE Overview”).
                                                 -35-
       Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 45 of 69



                       c.     Plaintiffs’ data do not reliably identify customer sales or post-
                              FTT sales by Defendants.

       The CAC asserts that “Defendants conspired to fix the price at which GSE Bonds [went]

FTT in the secondary market.” (CAC ¶ 145.) But its statistics appear to be based on TRACE data

reported by broker-dealers that are members of FINRA. For at least three reasons, TRACE data

could not have allowed Plaintiffs to identify Defendants’ post-FTT sales to customers and thus

cannot support the CAC’s assertion.

       First, TRACE data are anonymous.33 As a result, Plaintiffs could not have used such data

to identify sales by Defendants.

       Second, FINRA’s rulebook states that a counterparty identified as a “customer” in TRACE

data “includes a broker-dealer that is not a FINRA member.” FINRA Rule 6710(e). Accordingly,

transactions that TRACE data identify as “customer” sales include sales to broker-dealers that are

not members of FINRA and are not limited to sales to end customers.

       Third, TRACE data cannot reliably distinguish pre-FTT sales from post-FTT sales.

TRACE provides two designations for each sale about timing: (i) P1, which is used for sales by

an underwriter on the first day of trading at a listed or fixed-offering price or at a discount from

the listed or fixed-offering price, and (ii) S1, which is used for any primary-market or secondary-

market transaction after the first day of trading.34 As a result, both pre-FTT and post-FTT sales

on the first day of trading could be labeled as P1, and both pre-FTT and post-FTT sales after the

first day of trading could be labeled as S1. Because transactions designated as either P1 or S1




33
  See TRACE Overview at 3.
34
   See FINRA, Reporting of Corporate and Agencies Debt Frequently Asked Questions (FAQ),
Section 4.17, available at https://www.finra.org/industry/faq-reporting-corporate-and-agencies-
debt-frequently-asked-questions-faq.
                                               -36-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 46 of 69



include both pre-FTT and post-FTT sales, Plaintiffs cannot reliably isolate post-FTT sales using

TRACE data.

       This creates significant problems for Plaintiffs. For instance, Plaintiffs assert that Figures 2

and 3 show that Defendants “charge[d] higher prices to investors for newly issued GSE Bonds

during the Class Period.” (CAC ¶ 189; see also id. ¶ 192.) Because Plaintiffs cannot isolate post-

FTT sales to investors using TRACE data, they instead analyze the prices charged by Defendants

on the first day of trading. (See id. ¶¶ 182-93.) But Plaintiffs themselves recognize that trades on

the first day of an underwriting likely include both primary- and secondary-market sales. (Id.

¶¶ 127-29.)

                       d.      Plaintiffs’ data do not focus on callable GSE bonds.

       Plaintiffs do not offer any analysis focused on transactions in callable GSE bonds, and the

CAC does not contain a single chart that provides statistics limited to callable bonds. Indeed,

much of Plaintiffs’ analysis is limited to benchmark or reference notes, which are distinct from

callable bonds. (Id. ¶¶ 185, 206.) Plaintiffs’ statistical allegations thus are not relevant to their

“direct evidence” of conspiracy, which relates exclusively to callable bonds.

               4.      Plaintiffs Fail to Control for Various Factors.

       Plaintiffs’ statistics fail to control for various macro-economic and other factors that could

have affected prices, which renders their analysis meaningless. See Love v. Johanns, 439 F.3d

723, 731 (D.C. Cir. 2006) (failure to control for relevant variables makes it “impossible—as a

statistical matter—to draw meaningful conclusions”). Because Plaintiffs fail to address “obvious

alternative explanation[s]” for their statistical differences between the alleged conspiracy period

and the alleged post-conspiracy period, Twombly, 550 U.S. at 567, their statistics do not create a

plausible inference of conspiracy. LLM Bar Exam, LLC v. Barbri, Inc., 271 F. Supp. 3d 547, 578



                                                -37-
         Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 47 of 69



(S.D.N.Y. 2017) (“An inference of conspiracy will not arise when . . . there are obvious alternative

explanations.”), aff’d, 922 F. 3d 136 (2d Cir. 2019).

         Macro-Economic Factors. In Figures 2, 3, 5, and 6, Plaintiffs compare the alleged

conspiracy period to the post-conspiracy control period. Yet they fail to control for critical changes

in the marketplace during the alleged conspiracy period, some of which include:

        2008-2011 financial and housing crises. The financial and housing crises made it more
         risky for dealers to hold GSE bonds (see CAC ¶ 142) and widened spreads between
         Treasuries and GSE bonds. All told, the housing crisis inflicted hundreds of billions of
         dollars in losses on Fannie Mae and Freddie Mac, which did not return to profitability until
         2012.35 FHLB experienced similar financial pressure.36

        2011 and 2013 proposals to close Fannie Mae and Freddie Mac. After these crises, several
         proposals were made to close Fannie Mae and Freddie Mac and sell their assets.37 These
         proposals increased uncertainty in the marketplace.

        2011 downgrading of Fannie Mae and Freddie Mac. When Standard & Poor’s
         downgraded U.S. sovereign debt on August 8, 2011, it also downgraded the debt of Fannie
         Mae and Freddie Mac due to “their direct reliance on the U.S. government.”38 Standard &
         Poor’s also downgraded the debt of FFCB and FHLB. Id.

        2013 “taper tantrum.” In 2013, the Federal Reserve said it would scale down its bond

35
   W. Scott Frame et al., The Rescue of Fannie Mae and Freddie Mac, 29 J. ECON. PERSP. at 25,
46 (2015); see also Josh Boak, Downgrade could be KO for housing, Politico (July 19, 2011)
https://www.politico.com/story/2011/07/downgrade-could-be-ko-for-housing-059380.
36
   See Stefan Gissler & Borghan Narajabad, The Increased Role of the Federal Home Loan Bank
System in Funding Markets, Part 3: Implications for Financial Stability, Board of Governors of
the Federal Reserve System, https://www.federalreserve.gov/econres/notes/feds-notes/the-
increased-role-of-the-federal-home-loan-bank-system-in-funding-markets-part-3-20171018.htm.
37
    See Dep’t of the Treasury, Reforming America’s Housing Finance Market 1-2 (2011),
https://www.treasury.gov/initiatives/documents/reforming%20america's%20housing%20finance
%20market.pdf; Danielle Douglas, Senators introduce bipartisan bill to replace Fannie, Freddie
with new agency, Wash. Post (June 25, 2013), https://www.washingtonpost.com/business/
economy/senators-introduce-bipartisan-bill-to-replace-fannie-freddie-with-new-agency/2013
/06/25/c5437850-dd9e-11e2-b197-f248b21f94c4_story.html?noredirect=on&utm_term=.5e7b
5a6b84ce.
38
  Press Release, Market News International, S&P Text: Fannie, Freddie Downgrade to ‘AA+’;
Outlooks Negative (Aug 8, 2011).



                                                 -38-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 48 of 69



        purchases, leading to a rapid increase in interest rates and selloff of GSE bonds. Dealers
        reduced their balance sheets significantly, decreasing liquidity and increasing volatility.39

All of these factors increased risk and would lead to larger price differences between the primary

and secondary market, as well as wider bid-ask spreads, during the alleged conspiracy period.

(CAC ¶ 142.) In contrast, Plaintiffs’ control period of January 2016 through December 2017 was

a period of relative economic calm.40

        Bond Maturity and Callability. Plaintiffs do nothing to control for changes over time in

the characteristics of GSE bonds such as maturity and callability. During the alleged conspiracy

period, GSE bonds generally had longer maturities, and a higher percentage were callable.41

Although both factors should result in a larger “underwriting concession,” Plaintiffs fail to account

for either.42



39
    Tobias Adrian et al., Dealer Balance Sheet Capacity and Market Liquidity during the 2013
Selloff in Fixed-Income Markets, Federal Reserve Bank of New York (Oct. 16, 2013),
https://libertystreeteconomics.newyorkfed.org/2013/10/dealer-balance-sheet-capacity-and-
market-liquidity-during-the-2013-selloff-in-fixed-income-markets.html.
40
   See, e.g., Fed. Open Market Comm., Minutes of the Federal Open Market Committee, Figure
1, https://www.federalreserve.gov/monetarypolicy/files/fomcminutes20171213.pdf; Bd. of
Governors of the Federal Reserve System, Policy Tools: Open Market Operations, https://www.
federalreserve.gov/monetarypolicy/openmarket.htm.
41
    For example, Freddie Mac long-term bonds dropped from about $47 billion (24% of $196
billion in total issuances) in the third quarter of 2010 to about $11 billion (9% of $127 billion of
total issuances) in the fourth quarter of 2016, while short-term bonds increased from about $125
billion (63% of total issuances) in the third quarter of 2010 to about $105 billion (82% of total
issuances) in in the fourth quarter of 2016.                See Freddie Mac, Securities Data,
http://www.freddiemac.com/debt/securities-data/#detailFunding.
42
    Compare CUSIP 3137EACX5 (non-callable Freddie Mac bond with two-year maturity, and
concession of 6.25 bps), with CUSIP 3134G3CC2 (callable Freddie Mac bond with two-year
maturity, and concession of 12.50 bps); compare CUSIP 3137EADK2 (non-callable Freddie Mac
bond with seven-year maturity, and a concession of 12.50 bps), with CUSIP 3137EADB2 (non-
callable Freddie Mac bond with ten-year maturity, and concession of 15.00 bps). Pricing term
sheets for Freddie Mac bonds are available at http://www.freddiemac.com/debt/legal/.



                                                -39-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 49 of 69



       Differences Between Defendants and Non-Defendants. In Figure 4, Plaintiffs purport

to compare pricing by Defendants and non-defendants. But they fail to account for key differences

between them, including that (i) Defendants are mostly large banks, while non-defendants include

a wide range of other types of dealers with different risk profiles, and (ii) Defendants underwrote

larger, more complex bond issuances, which required them to assume more risk.43 In times of

financial stress, such as the first part of the alleged conspiracy period, these differences between

Defendants and non-defendants would become even more acute, as only larger financial

institutions could take the risk of underwriting bonds with significant price volatility.

       Figure 4 itself indicates that there are differences—entirely unrelated to any alleged

conspiracy—between the pricing of Defendants and non-defendants. Figure 4 purports to show

that the “price inflation” for newly issued GSE bonds above Treasury yields was 2.5 times greater

for Defendants than for non-defendants during the alleged conspiracy period and 2.7 times greater

during the control period.44 The fact that this difference increased during the control period is

inconsistent with Plaintiffs’ claim of a conspiracy.

               5.      Plaintiffs’ Individual Charts Suffer from Additional Facial Flaws.

       In addition to the common defects infecting all of Plaintiffs’ statistics, the CAC’s

individual charts suffer from additional facial flaws. For example:


43
   For example, the average size of issuances underwritten by Defendants and DBSI was $441
million in 2009 and $135 million in 2018 versus $39 million in 2009 and $29 million in 2018 for
issuances underwritten only by non-defendants. See Freddie Mac, Debt Issues, http://www.
freddiemac.com/debt/data/cgi-bin/lookup.cgi?cusip2=&dtFrom=01%2F01%2F2009&dtTo
=12%2F31%2F2009&issuetype=; see also Freddie Mac, Debt Issues, http://www.freddiemac.com
/debt/data/cgi-bin/lookup.cgi?cusip2=&dtFrom=01%2F01%2F2018&dtTo=12%2F31%2F
2018&issuetype=.
44
   During the alleged conspiracy period, Plaintiffs claim that the price inflation was 100 bps for
Defendants and 40 bps for non-defendants—a ratio of 2.5. (CAC ¶ 197, Fig. 4.) During the control
period, Plaintiffs allege that the price inflation was 43 bps for Defendants and 16 bps for non-
defendants—a ratio of 2.7. (Id.)
                                                -40-
          Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 50 of 69



         Figures 2 and 3 purport to measure the difference between the price paid to issuers and the
          price charged to investors. Figure 2 measures this difference for all dealers and found a
          difference of 10.6 bps during the conspiracy period. (CAC ¶¶ 186-89.) Figure 3 measures
          this difference only for Defendants and found a difference of only 2.58 bps. (Id. ¶¶ 190-
          93.) That implies that Defendants were charging lower prices than non-defendant dealers.

         In Figure 4, Plaintiffs compare (i) the difference between the price paid to issuers and the
          price charged to investors, and (ii) “the yield offered by U.S. Treasury securities with a
          comparable maturity.” (Id. ¶ 198.) Prices and yields are different metrics: prices are a
          percentage of the par value of a bond (e.g., 99.5 out of 100), while yield is the percentage
          return earned on an investment. Figure 4’s comparison thus makes no sense.

         In the figures included in Paragraphs 208 and 209, Plaintiffs measure “yield spreads over
          treasury bonds” (id. ¶ 207) for 55 GSE bonds for both sales to other dealers and sales to
          customers. But these figures suggest that these yield spreads are negative—meaning that
          investors accepted less interest for GSE bonds than for Treasury bonds. (Id. ¶¶ 208-09 &
          n.11.) That defies logic: Treasuries are less risky than GSE bonds, and investors thus
          demand a premium for GSE bonds. (Id. ¶¶ 114, 136.)

         In the figure included in Paragraph 210, Plaintiffs claim that “narrower bid-ask spreads
          were used by dealers to encourage customer purchases of GSE bonds at inflated prices.”
          (Id. ¶ 210.) Plaintiffs also state that “bid-ask spreads for formerly on-the-run bonds
          declined almost two basis points.” (Id.) But narrower bid-ask spreads would have led to
          lower transaction prices and benefited customers. In addition, Plaintiffs’ allegation that
          bid-ask spreads “declined” is completely inconsistent with their other allegations that
          Defendants somehow inflated the price of bonds about to go off-the-run. (Id. ¶¶ 204, 206.)

         In Figure 5, Plaintiffs analyze bid-ask spreads for “riskless principal transactions” where
          “a dealer purchases a GSE Bond after it has already agreed to sell the GSE Bond to a
          customer or vice-versa.” (Id. ¶ 215.) Plaintiffs nowhere explain why this limited set of
          transactions is relevant to GSE bonds overall.

         In Figure 6, Plaintiffs look at quotes for GSE bonds, not actual transaction prices, and select
          36 million GSE bonds quotes for the seven-year conspiracy period and 47 million quotes
          for the three-year control period. (Id. ¶ 217.) Plaintiffs do not explain how they selected
          the quotes; why they used fewer quotes from the longer conspiracy period than the shorter
          control period; or how quotes relate to actual transaction prices.

II.       Plaintiffs Fail to State a Rule-of-Reason Claim Based on Alleged Agreements
          Among Co-Underwriters During the Syndication Phase of Offerings.

          Beyond their conclusory allegations of a market-wide, overarching conspiracy, Plaintiffs

contend, based on three chats (id. ¶¶ 148-49, 152), that three Defendants while in syndicate

improperly discussed whether to declare the bonds they underwrote FTT and at what discount to


                                                   -41-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 51 of 69



par initially to offer the bonds in the secondary market. (The fourth chat (id. ¶ 150) on its face did

not result in any agreement.) Under settled precedent, the rule of reason applies to alleged

agreements among co-underwriters working together in a syndicate about the price of the bonds

they underwrote. Thus, to the extent the Court chooses to decide the issue on this motion, any

allegation of agreements among co-underwriters on the initial discount to par should be assessed

under the rule of reason. The CAC does not even attempt to plead a rule-of-reason claim.

       A.      The Rule of Reason Applies to Agreements Among Co-Underwriters
               Operating as a Syndicate About the Price of the Bonds They Underwrote.

       “Per se liability is limited to ‘agreements whose nature and necessary effect are so plainly

anticompetitive that no elaborate study of the industry is needed to establish their illegality.’” In

re IRS, 261 F. Supp. 3d at 467 (quoting Nat’l Soc’y of Prof’l Eng’rs v. United States, 435 U.S.

679, 692 (1978)). As a result, “most antitrust claims are evaluated under the rule of reason.” LLM

Bar Exam, 271 F. Supp. 3d at 578-79. The per se rule applies only when “considerable experience”

teaches that the category of restraint at issue has “manifestly anticompetitive effects” and “lack[s]

any redeeming virtue.” Leegin Creative Leather Prod., Inc. v. PSKS, Inc., 551 U.S. 877, 886

(2007); see also Continental T.V., Inc. v. GTE Sylvania Inc., 433 U.S. 36, 58-59 (1977)

(“[D]eparture from the rule-of-reason standard must be based upon demonstrable economic effect

rather than . . . upon formalistic line drawing.”); In re NCAA Grant-in-Aid Cap Antitrust Litig.,

2019 WL 1747780, at *5 (N.D. Cal. Mar. 8, 2019) (“[B]ecause ‘a certain degree of cooperation’

is necessary to market athletics competition, the Court applies the Rule of Reason.”).

       Where competitor collaboration, including on pricing, allows a new product to be brought

to market with greater efficiency, the per se rule does not apply. See, e.g., Broad. Music, Inc. v.

CBS (“BMI”), 441 U.S. 1, 9, 24 (1979) (applying rule of reason in evaluating blanket copyright




                                                -42-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 52 of 69



licenses).45 For example, the “pricing decisions of a legitimate joint venture do not fall within the

narrow category of activity that is per se unlawful.” Texaco v. Dagher, 547 U.S. 1, 8 (2006). Nor

does the per se rule apply to horizontal-pricing restraints in complex business relationships with

which courts do not have experience, and where anticompetitive effects are not apparent. In BMI,

the Supreme Court held that the per se rule did not apply to an agreement between copyright

owners and their licensing agencies to provide blanket copyright licenses. 441 U.S. at 24. The

Court criticized the Second Circuit’s “literal approach” of labeling the conduct per se illegal

because the “competitors have literally ‘fixed’ a ‘price.’” Id. at 9. It emphasized that courts

classify conduct as a per se violation “only after considerable experience with certain business

relationships.” Id.

       Consistent with these principles, in the seminal case of United States v. Morgan, 118

F. Supp. 621 (S.D.N.Y. 1953), the court applied the rule of reason to antitrust allegations directed

at an underwriting syndicate, declining to apply per se treatment to the syndicate members’ alleged

pricing and stabilization activities. Id. at 687-89. The court found that pricing agreements within

an underwriting syndicate differ fundamentally from pricing agreements among competitors in the

purchase and sale of commodities and manufactured products, and agreed with defendants that the

underwriting syndicate “is a reasonable business combination having the purpose and effect of

efficiently promoting, rather than restraining, trade.” Id. at 690.

       Justice Stevens’ concurring opinion in Credit Suisse Securities (USA) LLC v. Billing, 551

U.S. 264 (2007), cited Morgan with approval. Justice Stevens explained that “agreements among



45
   See also NCAA v. Bd. of Regents of the Univ. of Okla., 468 U.S. 85, 103-04 (1984) (rule of
reason applies to NCAA rules setting minimum prices member schools can charge for television
broadcast rights); Polk Bros., Inc. v. Forest City Enters., 776 F.2d 185, 190 (7th Cir. 1985) (rule
of reason applies to agreement between stores jointly funding shopping center not to sell
competing products ancillary to collaborative construction project).
                                                -43-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 53 of 69



underwriters on how best to market IPOs, including agreements on price and other terms of sale

to initial investors, should be treated as procompetitive joint ventures for purposes of antitrust

analysis.” Id. at 285-86. Billing itself illustrates that joint underwriting activities are treated

differently for purposes of the antitrust laws. Plaintiffs in Billing sued ten banks that participated

in syndicates to underwrite IPOs, alleging that defendants agreed to inflate share prices in IPOs

and post-IPOs by, among other things, requiring IPO purchasers to buy additional shares in the

secondary market. 551 U.S. at 269-70. The Court rejected plaintiffs’ antitrust claims on the

ground that the securities laws implicitly preclude application of the antitrust laws to defendants’

joint-underwriting activities.    Id. at 279-84.       In so holding, the Court emphasized that

“underwriters’ efforts jointly to promote and to sell newly issued securities . . . is central to the

proper functioning of well-regulated capital markets.” Id. at 276.

       Here, Plaintiffs challenge syndicate activity aimed at bringing a new product—a GSE

bond—to the market. Any alleged agreement among co-underwriters about how best to sell newly

issued bonds should be evaluated under the rule of reason. This includes any agreements among

syndicate members about when to declare the bonds FTT and reduce the price to a discount below

par. After winning an auction to underwrite an offering, co-underwriters usually offer the bonds

in the primary market at par (i.e., 100) to non-dealer investors, but they also have the right to

decide, either immediately or after offering the bond at par for some period of time, to declare the

bonds FTT and then sell them at a discount to par (e.g., 99.985). GSEs leave it to the collective

discretion of the syndicate to decide when to declare callable bonds FTT and at what discount to

par.

       In one of the cited chats, the underwriters, after winning the auction, immediately discussed

declaring the bonds FTT and offering them at a discounted price of 99.90 or 99.925 rather than at



                                                -44-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 54 of 69



par. (CAC ¶ 149.) Given that the syndicate had already lawfully agreed to sell the bonds at par,

it cannot be per se unlawful for the syndicate to agree immediately to sell them instead at a discount

to par. That is procompetitive (and quintessential joint-underwriting) activity that should not be

condemned under the per se rule. Plaintiffs themselves acknowledge that dealers are free to

communicate with each other during the syndication phase about the price of the bonds they

underwrote. (Id. ¶¶ 11, 128, 160.)

       Moreover, customers would not benefit if underwriters had an incentive to remain in

syndicate indefinitely and charge customers the offering price of par, rather than agreeing to go

FTT and offer the bonds at a discount to par. The rule of reason exists, in part, to avoid such

arbitrary distinctions and anomalous outcomes. See Continental T.V., 433 U.S. at 58-59 (departure

from rule-of-reason standard must be based on demonstrable economic effect rather than on

formalistic line drawing); SCFC ILC, Inc. v. Visa USA, Inc., 36 F.3d 958, 963 (10th Cir. 1994)

(per se standard applies only to practices that “are entirely void of redeeming competitive

rationales”).

       There is an additional reason why the rule of reason should apply here: in performing the

syndication function, an underwriting syndicate sits in the middle of a two-sided market, matching

GSEs and investors. See Ohio v. Am. Express Co., 138 S. Ct. 2274, 2284-87 (2018). As frequent

issuers, GSEs have an interest in selling their bonds at the highest possible price and thus paying

the lowest possible rate of interest. The CAC thus acknowledges that GSEs are concerned with

the pricing of their bonds in the secondary market. (CAC ¶ 172.) Imposing per se liability on

underwriters for any agreements in furtherance of their collective effort to market newly issued

GSE bonds could chill competition among underwriters to procure the bonds, thus reducing the

prices that GSEs obtain for their bonds and subjecting GSEs to higher rates of interest. This two-



                                                -45-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 55 of 69



sided market dynamic requires the Court to weigh the effect of the challenged conduct on investors

against its effects on GSEs, and thus precludes application of the per se rule. See Am. Express,

138 S. Ct. at 2287 (in two-sided market, “competition cannot be accurately assessed by looking at

only one side . . . in isolation”).

        Unsurprisingly, no court ever has held that coordinated activity among co-underwriters

regarding an underwriting syndicate’s offering, including the price of that offering, is inherently

anticompetitive and thus subject to per se condemnation. There is no reason for this Court to be

the first. Indeed, the Court need not even reach this issue now because Plaintiffs try, but fail, to

allege a broader, overarching conspiracy that finds no support in the syndicate communications

quoted in the CAC.

        B.      Plaintiffs Do Not Even to Try to Plead a Rule-of-Reason Claim.

        “[U]nder a rule-of-reason analysis, the plaintiff ‘bears the initial burden of showing that

the alleged [agreement] produced an adverse, anticompetitive effect within’” a properly defined

relevant market. In re Ins. Brokerage Antitrust Litig., 618 F.3d 300, 315 (3d Cir. 2010). As a

threshold matter, a plaintiff must plead a plausible “relevant market, including both a product

market and a geographic market.” Integrated Sys. & Power, Inc. v. Honeywell Int’l, Inc., 713 F.

Supp. 2d 286, 298 (S.D.N.Y. 2010). “[O]nce the relevant market is defined,” a plaintiff must plead

that the market was “susceptible to the exercise of market power through tacit coordination.” Todd

v. Exxon Corp., 275 F.3d 191, 207-08 (2d Cir. 2001). A plaintiff then must allege facts

demonstrating that “the challenged action adversely affected competition in the relevant market.”

MacDermid Printing Sols. LLC v. Cortron Corp., 833 F.3d 172, 182 (2d Cir. 2016). “If the

plaintiff carries this burden, the court . . . decide[s] whether the anticompetitive effects of the

practice are justified by any countervailing pro-competitive benefits.” In re Ins. Brokerage, 618

F.3d at 316.

                                               -46-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 56 of 69



       The CAC does not even attempt to satisfy the elements of a rule-of-reason claim. Plaintiffs

instead simply assert that “Defendants’ conspiracy is a per se violation of the federal antitrust laws

and is, in any event, an unreasonable and unlawful restraint of trade.” (CAC ¶ 277.) Such

boilerplate language is insufficient to plead a claim under the rule of reason. For starters, Plaintiffs

fail to define a relevant antitrust market allegedly restrained by Defendants’ conduct. The CAC’s

general references to the “GSE Bond market” are insufficient to satisfy Plaintiffs’ pleading burden.

See Chapman v. N.Y. State Div. for Youth, 546 F.3d 230, 238 (2d Cir. 2008) (complaint must

“define its proposed relevant market with reference to the rule of reasonable interchangeability

and cross-elasticity of demand”).46 Plaintiffs’ failure to define the relevant market makes it

impossible to evaluate Defendants’ alleged market power and the competitive effects of the

challenged conduct in that market. See Todd, 275 F.3d at 200, 207-08. Plaintiffs’ failure to plead

a violation of Section 1 under the rule of reason requires the dismissal of any claim based on in-

syndicate agreements among co-underwriters about the bonds they underwrote.

III.   Plaintiffs Lack Antitrust Injury Because They Fail to Allege Any Injury-In-Fact.

       Given the CAC’s failure to plead a plausible overarching conspiracy, Plaintiffs must plead

both a conspiracy and antitrust injury on a bond-by-bond basis. Antitrust injury “is a threshold,

pleading-stage inquiry.” Gatt Commc’ns, Inc. v. PMC Assocs., LLC, 711 F.3d 68, 75 (2d Cir.

2013). “To demonstrate antitrust injury, a plaintiff must show (1) an injury-in-fact; (2) that has

been caused by the violation; and (3) that is the type of injury contemplated by the statute.” In re

SSA Bonds Antitrust Litig., 2018 WL 4118979, at *6 (S.D.N.Y. Aug. 28, 2018). “Unlike

government agencies, private plaintiffs do not have the right to bring suit against any person they



46
    See also Concord Assocs., L.P. v. Entm’t Props. Tr., 817 F.3d 46, 53-55 (2d Cir. 2016)
(dismissing of Section 1 claims for failure plausibly to define product market); Bookhouse of
Stuyvesant Plaza, Inc. v. Amazon.com, Inc., 985 F. Supp. 2d 612, 621 (S.D.N.Y. 2013) (same).
                                                 -47-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 57 of 69



reasonably suspect has committed a certain sort of wrong . . . . Plaintiffs can only recover in a civil

action if they can establish that they themselves have been harmed by defendants’ activities.” Id.

       Plaintiffs fail to plead any injury-in-fact because they do not allege that Defendants fixed

the price of the bonds they purchased or sold. Plaintiffs thus do not allege that “they themselves

have been harmed” by any alleged price fixing, and their antitrust claim should be dismissed.

Harry v. Total Gas & Power N. Am., Inc., 889 F.3d 104, 110 (2d Cir. 2018); see also In re SSA

Bonds, 2018 WL 4118979, at *8 (“[B]ecause Plaintiffs have not plausibly alleged that they

themselves were injured by the alleged conspiracy, their antitrust claim must be dismissed.”).

       A.      Plaintiffs Do Not Adequately Allege That Defendants Fixed the Price of
               Bonds They Purchased or Sold.

       Although Plaintiffs generally assert that “Defendants fixed the prices of GSE Bonds during

the Class Period” (CAC ¶ 236), the CAC does not adequately allege that Defendants fixed the

price of any bond Plaintiffs purchased. Despite Plaintiffs’ claim of “smoking gun direct evidence”

of price fixing (id. ¶ 3), the CAC points to only four chats among four Defendants and DBSI

purportedly discussing pricing of four specific callable bonds. (Id. ¶¶ 147-53.) The CAC does

not allege, however, that any Plaintiff purchased those bonds on the dates of the chats or even

shortly afterwards. (See id. ¶¶ 238, 242-45, 248-51, 257.) Three Plaintiffs—Birmingham, IBEW

Pension Plan, and IBEW 103—fail to identify any specific bonds they purchased or sold. They

also do not allege that they purchased or sold any of the bonds that were affected by the conspiracy

according to the “cooperating” dealer. Although Commonwealth Funds makes a vague and

conclusory allegation that it traded GSE bonds that the alleged cooperator “identified as being

impacted by the conspiracy” (id. ¶ 21), the CAC identifies only six such transactions, involving

only four callable bonds and only two Defendants (id. ¶ 238). Only one of those callable bonds is

discussed in any of the four cited chats, and Commonwealth Funds’ transaction occurred over two


                                                 -48-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 58 of 69



months after that chat. (Id. ¶¶ 148, 238.)47 Plaintiffs do not allege that the underwriters’ supposed

agreement to go FTT at a particular discount to par continued to affect secondary-market prices

more than two months later.48

        In re SSA Bonds is directly on point. In that case, plaintiffs “quote[d] from transcripts of

over 150 chats and phone calls” produced by two cooperating dealers. 2018 WL 4118979, at *2.

Like Plaintiffs here, the plaintiffs alleged that the conspiracy involved “every transaction entered

into by . . . Defendants during the Class Period, not just those associated with the chats summarized

in the CAC.” Id. at *3. According to plaintiffs, the “chats were ‘mere examples’ of acts in

furtherance of a continuous conspiracy that infected ‘each and every’ transaction.” Id. at *6. The

court rejected those arguments, holding that plaintiffs did not suffer antitrust injury because they

“d[id] not allege that any of the[] chats referred to transactions to which they were a party.” Id.

The court thus concluded that plaintiffs “have not plausibly alleged that they themselves were

injured by the alleged conspiracy.” Id. at *8. In so ruling, the court declined plaintiffs’ invitation

“to infer, based on approximately 150 chats . . . , that Plaintiffs’ individually negotiated

transactions with the Dealer Defendants during that period must have likewise been tainted and

injured them.” Id. This Court should decline Plaintiffs’ similar invitation here based on four chats.

        Accordingly, even if the CAC adequately pleads an antitrust violation based on the four

chats, Plaintiffs did not suffer antitrust injury because they do not allege direct injury as a result of

any agreement on the initial discounted price discussed in the chats. See, e.g., Arista Records LLC


47
  One of the bonds that Commonwealth Funds allegedly purchased—CUSIP 313378BR1 (CAC
¶ 238)—is the same bond discussed in the “February 17, 2012” chat (id. ¶ 148). But
Commonwealth Funds’ only alleged purchase of that bond occurred on April 23, 2012, more than
two months after the discussion in the cited chat. (Id. ¶ 238.)
48
   As explained above, the same trade data on which Plaintiffs rely show that, after this bond went
FTT, the very next sale was at a price below the price discussed in the chat. See supra at Argument
I.A.1; see also Ex. 8.
                                                  -49-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 59 of 69



v. Lime Grp. LLC, 532 F. Supp. 2d 556, 569 (S.D.N.Y. 2007) (plaintiff failed to plead “injury-in-

fact as a result of [the alleged] price-fixing scheme” because plaintiff never alleged that it

attempted to purchase allegedly price-fixed license); Harry, 889 F.3d at 116 (dismissing antitrust

claim where plaintiffs “d[id] not even present evidence that they traded at ‘artificial prices’” and

thus alleged “no actual injury”).

        B.      Plaintiffs’ Statistics Are Insufficient to Show That Any Plaintiff Suffered
                Injury-in-Fact.

        Besides the four chats discussed in the CAC, Plaintiffs argue that prices of GSE bonds

were inflated throughout the class period based on statistical analysis of average prices determined

by market-wide data. Such a generalized analysis, however, is no substitute for plausible factual

allegations that Defendants fixed the price of a bond Plaintiffs purchased or sold. See, e.g.,

Precision Assocs., Inc. v. Panalpina World Transp. (Holding) Ltd., 2011 WL 7053807, at *8-11

(E.D.N.Y. Jan. 4, 2011) (dismissing antitrust claim where plaintiffs failed to allege they personally

“paid the fixed charges” and rejecting argument that antitrust injury could be pled by alleging that

“surcharges [on certain routes] led to the inflation of prices for freight forwarding services in the

U.S. market overall”). In addition, many of Plaintiffs’ statistics do not even pertain to the types of

GSE bonds that Plaintiffs allegedly purchased.49 As such, they are insufficient to plead that any

Plaintiff suffered injury-in-fact.

        Plaintiffs’ Analysis of Offer-Day Prices. The CAC includes a series of charts purporting

to show that the prices Defendants charged investors for newly issued GSE bonds on offer days

were higher before January 1, 2016 than after. (CAC ¶¶ 182-99.) Even if taken at face value, this



49
   Plaintiffs nowhere explain how they are entitled to damages for trades with Defendants where
the bond at issue was syndicated solely by dealers not alleged to be co-conspirators. Yet their
implausibly broad class definition would include those trades.

                                                -50-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 60 of 69



analysis—which does not concern any specific Defendant or any specific bond, much less any

specific transaction—does not show that Plaintiffs were injured by Defendants’ conduct.

       For example, much of Plaintiffs’ analysis is limited to offer-day prices of benchmarks or

reference notes. (See id. ¶¶ 185-89.) No Plaintiff alleges, however, that it purchased a benchmark

bond or reference note at any point during the class period,50 let alone on the offer day. Plaintiffs’

analysis of the prices of “All Newly Issued GSE Bonds” on “offer days” (id. ¶¶ 191-99) fares no

better because the CAC does not allege that any Plaintiff purchased any GSE bond on the offer

day. Although the CAC asserts that “the price inflation for newly issued GSE Bonds persisted for

a minimum of one week after offer days” (id. ¶ 190), Plaintiffs allege no factual support for that

bald assertion. The CAC’s failure to link its analysis of offer-day prices to Plaintiffs’ trading

defeats any claim of injury-in-fact on that basis. See Harry, 889 F.3d at 116.

       Plaintiffs’ Analysis of Bonds Going “Off-the-Run.” The CAC also includes charts that

purportedly suggest that Defendants “inflated prices” of reference notes that were “about to go off-

the-run” in the “two days immediately leading up to a new issuance.” (CAC ¶¶ 204-08.) All of

Plaintiffs’ assertions of supposed price anomalies are limited to the “two days immediately leading

up to a new issuance” (id. ¶ 204) or the three days immediately before, on, or after “the new auction

of a replacement on-the-run bond” (id. ¶¶ 207-10). The CAC does not allege that any Plaintiff

purchased a single GSE bond in the “two days immediately leading up to a new issuance” or in

the three days before, on, or, after a new auction. (Id. ¶¶ 204, 238-61.)51


50
  Plaintiffs previously admitted that “Fannie Mae Benchmark Notes and Freddie Mac Reference
Notes” comprise only “33.9%” of reported transactions. (Compl. ¶ 142.)
51
    Commonwealth Funds and Birmingham fail to identify any specific purchases of GSE bonds
in the days leading up to or after a new issuance. (CAC ¶¶ 238-45, 255-61.) They instead offer
only conclusory assertions. (Id. ¶¶ 241, 256.) IBEW 103 alleges a single purchase of an on-the-
run GSE bond on October 29, 2010, which was six days before the bond went off-the-run on
November 4, 2010. (Id. ¶ 251.)
                                                -51-
       Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 61 of 69



       Plaintiffs’ Analysis of “Average” Bid-Ask Spreads. The CAC further asserts that “bid-

ask spreads were wider during the Class Period as compared to the post-Class Period.” (Id. ¶ 211.)

The only allegations offered in support of that assertion are comparisons of “average” bid-ask

spread “quotes” before and after January 2016. (Id. ¶¶ 214, 216, 220.) These “averages” are

insufficient to plead that Defendants artificially widened the bid-ask spreads on every GSE bond

over a seven-year period. See, e.g., Sheet Metal Workers Local 441 Health & Welfare Plan v.

GlaxoSmithKline, PLC, 2010 WL 3855552, at *30 (E.D. Pa. Sept. 30, 2010) (“[A]veraging by

definition glides over what may be important differences.”). Plaintiffs also admit that their

analysis of bid-ask spreads is based on bid-ask spreads quoted by dealers (CAC ¶¶ 211, 215, 217-

20), not on prices actually paid by investors. As Plaintiffs themselves recognize, quotes are simply

“non-binding indications of where a dealer might trade a certain GSE bond in the future,” not

actual transaction prices. (ECF No. 131 at 6.) The CAC thus alleges only a possibility that

Plaintiffs’ transactions might have been affected by a widening of bid-ask spreads, which is not

enough to plead antitrust injury. See In re SSA Bonds, 2018 WL 4118979, at *7; Harry, 244 F.

Supp. 3d at 416.

IV.    Plaintiffs’ Claim Based on Pre-February 22, 2015 Conduct Is Time-Barred.

       Plaintiffs’ antitrust claim based on conduct occurring before February 22, 2015 is barred

by the Clayton Act’s four-year statute of limitations. See 15 U.S.C. § 15b. This four-year

limitations period begins to run “as soon as there is injury to competition,” Johnson v. Nyack

Hosp., 86 F.3d 8, 11 (2d Cir. 1996), and where, as here, a plaintiff alleges a continuing antitrust

conspiracy, only the conduct within the limitations period is actionable. In re Nine West Shoes

Antitrust Litig., 80 F. Supp. 2d 181, 192 (S.D.N.Y. 2000).

       Plaintiffs allege that Defendants conspired to fix prices of GSE bonds between January 1,

2009 and January 1, 2016. (CAC ¶ 1.) Because Plaintiffs did not bring suit until February 22,

                                               -52-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 62 of 69



2019, their antitrust claim only can challenge conduct that occurred after February 22, 2015.52 The

statute of limitations thus reduces Plaintiffs’ proposed class period to a little over ten months and

bars any claim based on the four chats alleged in the CAC.

       In an effort to avoid this time bar, Plaintiffs assert that the statute of limitations was

equitably tolled because Defendants fraudulently concealed their alleged conspiracy. (CAC

¶ 271.) To plead fraudulent concealment, an antitrust plaintiff must allege “(1) that the defendant

concealed the existence of the antitrust violation; (2) that plaintiff remained in ignorance of the

violation until sometime within the four-year antitrust statute of limitations; and (3) that his

continuing ignorance was not the result of lack of diligence.” Hinds Cty. v. Wachovia Bank N.A.,

620 F. Supp. 2d 499, 520 (S.D.N.Y. 2009). Allegations of fraudulent concealment must be

sufficiently particularized to satisfy Rule 9(b). Id. The CAC’s fraud allegations fall well short of

satisfying that heightened pleading standard.

       No Affirmative Acts of Concealment. To plead affirmative acts of concealment, a

plaintiff must allege “that defendants took affirmative steps to conceal the alleged [violation] or

the resulting injury from plaintiffs.” Sejin Precision Indus. Co. v. Citibank, N.A., 235 F. Supp. 3d.

542, 552 (S.D.N.Y. 2016). As alleged acts of concealment, the CAC relies on generic statements

from certain Defendants’ 2010 annual reports about the strength of their compliance programs.



52
   Plaintiffs’ original complaint, filed on February 22, 2019, did not name as defendants Morgan
Stanley, TD, Nomura, Cantor, SG, or HSBC. Morgan Stanley, TD, Nomura, and HSBC were first
named in the Alaska complaint filed on February 26, 2019; SG and Cantor were first named in the
CAC filed on May 23, 2019. Plaintiffs thus cannot assert an antitrust claim against those
Defendants based on conduct occurring before February 26, 2015 and May 23, 2015, respectively.
See, e.g., Madison 92nd St. Assocs., LLC v. Courtyard Mgmt. Corp., 624 F. App’x 23, 28 (2d Cir.
2015) (claims against new parties in amended complaint do not relate back under Rule 15 absent
prior omission by “mistake”); In re Vitamin C Antitrust Litig., 995 F. Supp. 2d 125, 131 (E.D.N.Y.
2014) (lack of knowledge of party’s alleged involvement is not a “mistake” under Rule 15).



                                                -53-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 63 of 69



(CAC ¶ 271(a)-(m).) Plaintiffs cannot meet their pleading burden under Rule 9(b) simply by

quoting general statements in securities filings. Plaintiffs do not allege—much less with the

required particularity—that any of these statements were false, let alone fraudulent.53

Furthermore, Plaintiffs fail to make any allegation of acts of concealment as to three Defendants—

Cantor, HSBC, and SG.54

       Not a “Self-Concealing” Conspiracy.             To allege a “self-concealing” conspiracy, a

plaintiff must plead facts establishing that the alleged conspiracy “is, by its nature, unknowable.”

SEC v. Jones, 476 F. Supp. 2d 374, 382 (S.D.N.Y. 2007). Plaintiffs’ own allegations belie any

claim that the supposed conspiracy was unknowable: the CAC argues that a conspiracy can

plausibly be inferred from publicly available information about GSE bond prices. Plaintiffs further

contend that price increases in “the most recently issued GSE Bonds” in the days before new

issuances cannot be explained by “market factors and are, in fact, the opposite of what is expected.”

(Id. ¶ 8.) Plaintiffs cannot have it both ways. They cannot rely on widely available data as

evidence of a plausible conspiracy, while simultaneously contending that the same data did not at

least put them on inquiry notice years ago. “[A]ll that is necessary to cause the tolling period to



53
   Indeed, the Second Circuit reaffirmed as recently as this year that “general statements about
reputation, integrity, and compliance with ethical norms are . . . too general to cause a reasonable
investor to rely upon them.” Singh v. Cigna Corp., 918 F.3d 57, 63 (2d Cir. 2019); see also ECA
& Local 134 IBEW Joint Pension Tr. of Chi. v. JPMorgan Chase Co., 553 F.3d 187, 206 (2d Cir.
2009) (general public statements about bank’s risk management processes and integrity “are too
general to cause a reasonable investor to rely upon them”).
54
   Plaintiffs identify statements allegedly made by only 12 of the 15 Defendants. Although they
state that their list is “non-exhaustive” (CAC ¶ 271), the absence of any allegations against three
Defendants precludes Plaintiffs from asserting fraudulent concealment against them. See In re
DDAVP Direct Purchaser Antitrust Litig., 585 F.3d 677, 695 (2d Cir. 2009) (“In a case involving
multiple defendants, plaintiffs must plead circumstances providing a factual basis for scienter for
each defendant; guilt by association is impermissible.”).



                                                -54-
        Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 64 of 69



cease is for there to be reason to suspect the probability of any manner of wrongdoing.” In re IRS,

261 F. Supp. 3d at 489; see also Woori Bank v. Merrill Lynch, 923 F. Supp. 2d 491, 497 (S.D.N.Y.

2013) (plaintiff may not “simultaneously claim[] that the generalized evidence cited as the basis

of its complaint” is “sufficiently detailed to state a cognizable claim of relief and that, nevertheless,

these facts were somehow insufficiently particular to cause the statute of limitations to run”).55

        No Due Diligence. Plaintiffs fail to allege that they performed any due diligence or that

the exercise of diligence would have been futile. Instead, they simply assert, without any factual

support, that Defendants’ alleged conspiracy “could not have [been] discovered . . . through the

exercise of due diligence until June 2018” when the Bloomberg article was published. (CAC

¶ 273.) That boilerplate allegation is insufficient to plead that Plaintiffs exercised diligence,

particularly when Plaintiffs allege that publicly available data evidence a conspiracy. See, e.g., In

re Merrill Lynch Ltd. P’ships Litig., 154 F.3d 56, 60 (2d Cir. 1998) (plaintiffs failed to plead

diligence where plaintiffs made “no allegation of any specific inquiries of [the defendant], let alone

detail[ed] when such inquiries were made, to whom, regarding what, and with what response”).

                                           CONCLUSION

        For the foregoing reasons, the CAC should be dismissed in its entirety with prejudice.




55
   Plaintiffs also allege that “Defendants engaged in multiple, similar price-fixing conspiracies”
and that findings from other investigations “support the conspiracy alleged” in the CAC. (CAC
¶¶ 227-28.) Although Plaintiffs admit that those findings were made public by April 2014 (Compl.
¶ 138), they do not explain why they would not at least put Plaintiffs on inquiry notice by that
time. See Woori Bank, 923 F. Supp. 2d at 497.
                                                  -55-
      Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 65 of 69



Dated: June 13, 2019
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                                         -56-
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                                           -57-
      Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 67 of 69




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                                           -58-
      Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 68 of 69




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                                           -59-
      Case 1:19-cv-01704-JSR Document 221 Filed 06/13/19 Page 69 of 69




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